Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 1 of 114 PageID #: 713




                  EXHIBIT D
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 2 of 114 PageID #: 714


                                                                                                                                             Page 1


           UNITED                STATES             DISTRICT                   COURT
           EASTERN                DISTRICT                   OF       NEW          YORK
           -    -        -        -        -        -        -        -        -        -        -        -        -        -        -        -       x
           EDWARD                SHIN,
                                           Plaintiff,


                                  -against-
           YS2          ENTERPRISES                         INC.,             MICHAEL                S.       WANG,
           VICTORIA                   WANG          as       TRUSTEE                   OF       THE       RICHARDSON
           IRREVOCABLE                         TRUST,                TERRANCE                   WU,       DEH-JUNG
           DEBORAH                WANG,             and          YOUNG             K.       LEE


                                           Defendant.
           -        -        -        -        -        -        -        -        -        -        -        -        -        -        -        -       x
                                                            1270          Broadway
                                                            New       York,             New          York          10001


                                                            May       21,          2019
                                                            11:11              a.m.


                    EXAMINATION                         BEFORE                TRIAL             of       JOHN          KIM,          a
           Non-Party                      Witness                herein,                taken             by       MS.
           BERKOWITZ                      in       the       above-entitled                               action,                   held
           at       the          above             time          and          place,             pursuant                   to
           Subpoena,                      taken             before             CHRISTA                   M.       MILOSCIA,                   a
           Shorthand                      Reporter                   and       Notary                Public                within
           and          for       the          State             of       New          York.
                                                   Magna             Legal             Services
                                                             (866)624-6221
                                                        www.MagnaLS.com
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 3 of 114 PageID #: 715


                                                                          Page 2
      1
      2    A   P    P E A R A N C E S:
      3            THE BASIL LAW GROUP
                        Attorneys for Plaintiff
      4                 1270 Broadway
                        New York, New York 10001
      5            BY:  DAVID A. COHEN, ESQ.
                           davidacohen@rjbasil.com
      6
                   AHMUTY, DEMERS & MCMANUS
      7                 Attorneys for Defendant
                        YS2 ENTERPRISES INC.
      8                 199 Water Street
                        New York, New York 10038
      9            BY:  JANICE BERKOWITZ, ESQ.
                           Janice.Berkowitz@admlaw.com
     10
              CHARTWELL LAW
     11            Attorneys for Defendants
                   VICTORIA WANG as TRUSTEE OF RICHARDSON
     12    IRREVOCABLE TRUST, TERRANCE WU
                   81 Main Street
     13            White Plains, New York 10601
              BY:  CARMEN A. NICOLAOU, ESQ.
     14               cnicolaou@chartwell.com
     15       LONGO AND D'APICE
                   Attorneys for Defendant
     16            YOUNG K. LEE
                   26 Court Street
     17            Brooklyn, New York 11242
              BY:  STEVEN J. WEISSLER, ESQ.
     18
     19
     20
     21
     22
           ALSO      PRESENT:
     23
                   EESHA   MALYALA   -   SITTING     IN   WITH   CHARTWELL
     24            LAW
     25
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 4 of 114 PageID #: 716


                                                                                                         Page 3
      1
      2                           S    T    I    P    U    L    A    T    I    O    N    S

      3          IT    IS    STIPULATED                   AND       AGREED          by       and   between

      4    the    attorneys                for       the       respective                parties

      5    herein,          and       in    compliance                   with       Rule       221      of    the

      6    Uniform          Rules          for       the       Trial          Courts:

      7          THAT       the       parties             recognize                the       provision            of

      8    Rule       3115       subdivisions                   (b),          (c)       and/or         (d).

      9    All    objections                made          at    a    deposition                shall         be

     10    noted       by    the       officer             before             whom       the

     11    deposition             is       taken,          and       the       answer          shall         be

     12    given       and       the       deposition                shall          proceed            subject

     13    to    the    objections                   and       to    the       right          of   a    person

     14    to    apply       for       appropriate                   relief             pursuant         to

     15    Article          31    of       the       CPLR;

     16          THAT       every          objection                raised          during         a

     17    deposition             shall          be       stated          succinctly               and

     18    framed       so       as    not       to       suggest             an    answer         to    the

     19    deponent          and,          at    the       request             of       the

     20    questioning                attorney,                shall          include          a   clear

     21    statement             as    to       any       defect          in       form       or   other

     22    basis       of    error          or       irregularity.                       Except         to    the

     23    extent       permitted                by       CPLR       Rule          3115       or   by    this

     24    rule,       during          the       course             of    the       examination

     25    persons          in    attendance                   shall          not       make
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 5 of 114 PageID #: 717


                                                                                                          Page 4
      1
      2    statements                or    comments          that       interfere                with          the

      3    questioning.

      4          THAT       a    deponent          shall       answer             all       questions

      5    at    a   deposition,                 except       (i)       to    preserve                a

      6    privilege             or       right    of    confidentiality,                         (ii)          to

      7    enforce          a    limitation             set    forth          in       an    order             of

      8    a    court,          or    (iii)       when       the       question             is    plainly

      9    improper             and       would,    if       answered,             cause

     10    significant                prejudice          to    any          person.              An

     11    attorney             shall       not    direct          a    deponent             not          to

     12    answer       except             as    provided          in       CPLR       Rule       3115          or

     13    this      subdivision.                  Any       refusal          to       answer             or

     14    direction             not       to    answer       shall          be    accompanied

     15    by    a   succinct              and    clear       statement                on    the          basis

     16    therefore.                 If    the    deponent             does       not       answer             a

     17    question,             the       examining          party          shall          have          the

     18    right       to       complete          the    remainder                of    the

     19    deposition.

     20          THAT       an       attorney       shall          not       interrupt                the

     21    deposition                for    the    purpose             of    communicating

     22    with      the        deponent          unless       all          parties          consent

     23    or    the    communication                   is    made          for    the       purpose

     24    of    determining                whether          the       question             should             not

     25    be    answered             on    the    grounds             set    forth          in
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 6 of 114 PageID #: 718


                                                                                                    Page 5
      1
      2    Section          221.2       of    these       rules,          and,       in    such

      3    event,          the    reason          for    the       communication                shall

      4    be    stated          for    the       record       succinctly                and

      5    clearly.

      6          THAT       the       failure       to    object          to       any    question

      7    or    to    move       to    strike          any    testimony             at    this

      8    examination                shall       not    be    a    bar       or    waiver          to

      9    make       such       objection          or    motion          at       the    time       of

     10    the    trial          of    this       action,          and    is       hereby

     11    reserved;             and

     12          THAT       this       examination             may       be    signed          and

     13    sworn       to    by       the    witness          examined             herein       before

     14    any    Notary          Public,          but    the       failure          to    do       so    or

     15    to    return          the    original          of       the    examination                to

     16    the    attorney             on    whose       behalf          the       examination

     17    is    taken,          shall       not    be    deemed          a    waiver          of    the

     18    rights          provided          by    Rules       3116       and       3117       of    the

     19    C.P.L.R,          and       shall       be    controlled                thereby;          and

     20          THAT       the       certification                and    filing          of    the

     21    original          of       this    examination                are       hereby

     22    waived;          and

     23          THAT       the       questioning             attorney             shall       provide

     24    counsel          for       the    witness          examined             herein       with       a

     25    copy       of    this       examination             at    no       charge.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 7 of 114 PageID #: 719


                                                                                                Page 6
      1                                                 J.    KIM
      2     J    O    H    N        K    I    M,    the       Witness          herein,
      3     having             been          first       duly       sworn       by    a    Notary
      4     Public             of       the    State          of    New       York,       was
      5     examined                and       testified             as    follows:
      6     EXAMINATION
      7     BY       MS.       BERKOWITZ:
      8                   Q.    State          your          name    for       the    record,
      9         please.
     10                   A.    John          Kim.
     11                   Q.    Mr.          Kim,       my    name       is    Janice
     12         Berkowitz.                    I'm       the    attorney             for    the
     13         Defendant                YS2       Enterprises;                we    also       call
     14         it    the       "karaoke                club"       in    a    lawsuit          that
     15         was       commenced                by    Edward          Shin.
     16                         Are          you    here       today          pursuant          to   a
     17         non-party                subpoena?
     18                   A.    Yes.
     19                   Q.    And          the    gentleman             to    your       left
     20         is    your          attorney             for       today?
     21                   A.    Yes.
     22                   Q.    Okay.              I'm       going       to    focus       on
     23         April          21st,          2017.           Did    you       go    to    the
     24         karaoke             club       with          Edward       Shin       that
     25         night?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 8 of 114 PageID #: 720


                                                                                         Page 7
      1                                           J.    KIM
      2             A.    Yes.
      3             Q.    Where          had       you    been       before          you
      4      got    to    the       karaoke             club?
      5             A.    We       had       a    meeting          within       the      bank
      6      and    after          the       meeting,          myself          and
      7      Mr.    Shin       and       a       couple       of    employees            went
      8      out    for       the    dinner.
      9             Q.    Where          was       the    dinner?
     10             A.    New       Jersey.
     11             Q.    What       time          did    the       dinner          start?
     12             A.    I    don't             quite    recall          the       exact
     13      time,       but       probably             around       seven.
     14             Q.    And       what          time    did       it    end?
     15             A.    Probably                9:30,       before          10,    I
     16      guess       --    I    believe.
     17             Q.    And       you're             employed          by
     18      Noah     Bank?
     19             A.    Yes.
     20             Q.    And       at       that       time       what       was    your
     21      position?
     22             A.    I'm       head          of    Special          Asset
     23      Department,             controlling                   problem          loans.
     24                            MR.       WEISSLER:              Off       the
     25             record.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 9 of 114 PageID #: 721


                                                                                    Page 8
      1                                     J.       KIM
      2                         (Whereupon,                a    discussion          was
      3             held       off    the       record.)
      4             Q.    What       was    Mr.       Shin's          position       at
      5      that     time?
      6             A.    Chief       Executive                Officer.
      7             Q.    During          the    dinner          in    New    Jersey,
      8      did    you    observe          Mr.       Shin       drinking
      9      alcohol?
     10             A.    Yes.
     11             Q.    What       did    you       observe          him
     12      drinking?
     13             A.    Just       --    not       much.
     14             Q.    What       did    you       observe          him
     15      drinking?
     16             A.    What       kind       of    drink?           Is    that
     17      what     you're         asking?
     18             Q.    Right.
     19             A.    We    had       whisky.
     20             Q.    And    how       much       whisky          did    he
     21      consume       during          dinner?
     22             A.    Not    much.
     23             Q.    What       do    you       mean       by    "not    much"?
     24             A.    Maybe       several          shots.
     25             Q.    What's          "several"             to    you?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 10 of 114 PageID #: 722


                                                                                             Page 9
       1                                        J.       KIM
       2             A.    Probably             three          or    four.
       3             Q.    Were       you       drinking             that          night?
       4             A.    Probably             one       glass          of    shot(sic).
       5             Q.    When       you       left       the       dinner,             where
       6      did    you       go?
       7             A.    I,    myself             --    myself          and       Mr.      Shin
       8      went    to       Flushing.
       9             Q.    What       was       the       purpose             of    going         to
      10      Flushing?
      11             A.    After          we    got       out       from       the
      12      restaurant,             I    believe             Mr.       Shin       received
      13      a   phone        call       and       then       he    wanted             to   --
      14      "We    have       to    go       to    Flushing."
      15             Q.    Do    you       know          who    he       received            the
      16      phone       call       from?
      17             A.    I    don't          know.
      18             Q.    Did       he    say       why       he    had       to       go   to
      19      Flushing?
      20             A.    He    had       meeting             with       --       he    have
      21      meeting          with       Mr.       Lee    --       Chung          Kane      Lee.
      22             Q.    Who's          Chung          Lee?
      23             A.    Chung          Lee       --    his       friend.
      24             Q.    Was       he    some          type       of    business
      25      associate?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 11 of 114 PageID #: 723


                                                                                          Page 10
       1                                           J.    KIM
       2                A.    He       --    yes.        He       received          the       loan
       3      from       us       --    our       bank.
       4                Q.    Do       you    know       the       purpose          of    the
       5      meeting?
       6                A.    No,       just       a    casual          meeting.
       7                Q.    Was       it    a    friendly             social       meeting
       8      or    a    business             meeting?
       9                A.    I    don't          know       about       that.
      10                Q.    Okay.           After          he    received          the
      11      phone          call,          did    you       drive       to    Flushing?
      12                A.    Yes.
      13                Q.    Okay.
      14                               MR.    WEISSLER:                 Who    was       the
      15                driver?
      16                               THE    WITNESS:              I    was    the
      17                driver.
      18                Q.    What          time       did    you       leave
      19      New       Jersey?
      20                A.    Probably             between          9:30       or    10,       I
      21      don't          quite          recall.
      22                Q.    What          time       did    you       arrive       in
      23      Flushing?
      24                A.    About          10:30,          before       11    --       11
      25      around.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 12 of 114 PageID #: 724


                                                                                       Page 11
       1                                        J.       KIM
       2             Q.    And       when       you       arrived          in
       3      Flushing,             where       did       you    go?
       4             A.    The       karaoke             bar    called          CEO.
       5             Q.    Have       you       ever       been       there          before?
       6             A.    No.
       7             Q.    Had       Mr.    Shin          ever       been       there
       8      before?
       9             A.    I    don't       know.
      10             Q.    When       you       got       to    the    karaoke          bar,
      11      what    did       you       do?
      12             A.    We       went    to       a    room       where       I    saw
      13      Mr.    Chung          Lee    was       there       and       CPA       Park
      14      was    there          and    there's             another          party       but
      15      I   don't        have       his    name.
      16             Q.    When       you       got       to    the    karaoke          --
      17      strike       that.
      18                   When       you       got       to    the    premises,
      19      how    did       you    get       to       the    karaoke          bar?
      20      Did    you       go    upstairs,             take       an    elevator,
      21      something             else?
      22             A.    I    think       we       have       to    use
      23      stairway(sic).
      24             Q.    Okay.           And       when       you    got       to    the
      25      karaoke          bar,       did    anyone          greet          you?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 13 of 114 PageID #: 725


                                                                                 Page 12
       1                                        J.    KIM
       2             A.    Yeah.
       3             Q.    Who       greeted          you?
       4             A.    Mr.       Shin       and    CPA    Park.
       5             Q.    Mr.       Shin       assisted       you?
       6             A.    Yes.
       7             Q.    Did       anyone          from    the    karaoke          bar
       8      greet       you?
       9             A.    Anyone             from    karaoke       bar?        No.
      10             Q.    Did       the       owner    or    waiter       or
      11      anybody          else       greet       you?
      12             A.    No.
      13             Q.    How       did       you    know    where       to    go
      14      when       you       arrived?
      15             A.    I       just       followed       Mr.    Shin's
      16      direction.
      17             Q.    Do       you       know    how    Mr.    Shin       knew
      18      where       to       go?
      19             A.    I       don't       know.
      20             Q.    Okay.              Where    did    Mr.    Shin       lead
      21      you    to?
      22             A.    I       don't       quite    remember          but    there
      23      was    a    bunch          of    rooms    within       the       karaoke
      24      bar    and       I    went       into    one    of    the    rooms
      25      where       Mr.       Chung       Lee    and    CPA    Park
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 14 of 114 PageID #: 726


                                                                                 Page 13
       1                                        J.    KIM
       2      stayed.
       3             Q.    So       Chung       Lee       and    CPA    Park    were
       4      already          in    the    room?
       5             A.    Yes.
       6             Q.    You       went       in    with       Mr.    Shin?
       7             A.    Yes.
       8             Q.    When       you       went       into    the    room,
       9      what    did       you       observe,          if    anything?        Was
      10      there       any       alcohol          in    the    room    already?
      11             A.    Yes.
      12             Q.    What       was       in    the       room    already?
      13             A.    Whisky.
      14             Q.    What       kind       of       whisky?
      15             A.    I    think       it       was    Johnnie       Walker
      16      Black       and       the    fruits          and    glasses.
      17             Q.    And       where       was       the    Johnnie       Walker
      18      Black?
      19             A.    On       the    table.
      20             Q.    And       was    any       alcohol          missing    from
      21      the    bottle          when       you       got    there?
      22             A.    Bottle          --
      23             Q.    Was       it    full       --    was    the    bottle
      24      full?
      25             A.    I    don't       recall.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 15 of 114 PageID #: 727


                                                                                       Page 14
       1                                        J.    KIM
       2             Q.    Okay.           When       you       got    into       the
       3      room,       did       any    waiter          or    server          come       in?
       4             A.    Yes       --    actually,             it's       time       to
       5      time.        When       I    got       there       the       waiter       was
       6      serving          something             but    it's       really          time
       7      to    time.           Everything             was       displayed          on
       8      the    table          already.
       9             Q.    So       what       do    you    mean       "displayed"?
      10      The    bottle          was       on    the    table?
      11             A.    Yeah;          bottles,          and       fruits,
      12      plates.
      13             Q.    Did       you       see    the       waiter          ever    pour
      14      anybody          a    drink?
      15             A.    No.
      16             Q.    Do       you    know       the       name       of    the
      17      waiter?
      18             A.    No.
      19             Q.    Was       it    the       same       waiter
      20      throughout?
      21             A.    I       don't       know.
      22             Q.    When       you       first       got       to    the    room,
      23      did    Mr.       Shin       have       anything          to       drink?
      24             A.    He       had    a    couple          of    shots,       I
      25      believe          one    or       two.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 16 of 114 PageID #: 728


                                                                                   Page 15
       1                                        J.    KIM
       2             Q.    One       or    two?
       3             A.    Yeah.
       4             Q.    Did       he    have       any    beer?
       5             A.    I    don't          recall,       just    the       whisky
       6      was    there.
       7             Q.    Did       you       have    anything          to    drink?
       8             A.    I    had       one    shot,       yes.
       9             Q.    You       were       the    designated             driver
      10      that    night?
      11             A.    I    was       the    driver.
      12             Q.    And       when       was    that    determined?
      13             A.    When       was       it    determined?
      14             Q.    Right.
      15             A.    After          we    got    out    of    the       dinner
      16      from    New       Jersey.
      17             Q.    Did       Mr.       Shin    ask    you    to       be   the
      18      designated             driver?
      19             A.    Well,          I'm    the    only       one    who
      20      brought          the    car       into    the    restaurant            in
      21      New    Jersey.
      22             Q.    It    was       your       car?
      23             A.    It    was       my    car.
      24             Q.    What       time       did    do    you    think         that
      25      you    got       into       the    room?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 17 of 114 PageID #: 729


                                                                                      Page 16
       1                                    J.    KIM
       2             A.    Probably         between             10:30       to       11.
       3             Q.    What      happened          during          the       next
       4      half      hour?
       5             A.    Actually,            after       I    got    into          the
       6      room      and    CPA       Park    walked          out    from          the
       7      room      and    he    came       back    within          about          10
       8      to   15     minutes         and    took       Mr.       Shin       out       for
       9      potential          clients         --    he       wanted       to
      10      introduce          potential            clients          where          they
      11      were,       in   the       other    room(sic).
      12             Q.    Who      were    the       clients          in    the
      13      other       room?
      14             A.    The      guy    who    kicked          Mr.       Shin.
      15             Q.    And      do    you    know       his       name?
      16             A.    I   think       it's       Mr.       Lee    but       I    don't
      17      have      his    full       name.
      18             Q.    Did      you    know       him       before       that
      19      night?
      20             A.    No.
      21             Q.    And      did    you    know          CPA    Park          before
      22      that      night?
      23             A.    Yes.
      24             Q.    And      how    do    you    know          him?
      25             A.    He's      --    he's       the       CPA    and       since
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 18 of 114 PageID #: 730


                                                                                       Page 17
       1                                        J.    KIM
       2      we're       the    banker          and       we    usually          have
       3      communication                with       CPAs,          because
       4      clients          use    CPA       Park       often.
       5             Q.    Is    CPA       Park       for       Noah       Bank?
       6             A.    Not       for    Noah       Bank          but
       7      Noah    Bank's          clients.
       8             Q.    Okay.           How       long       did    you       know    him
       9      before       that       time?
      10             A.    Two       years,          three       years.
      11             Q.    What       about          Mr.    Shin,          how    long
      12      did    you       know       him    for?
      13             A.    I    don't       know       that.
      14             Q.    When       did       you    start          working          for
      15      Noah    Bank?
      16             A.    Since          2012.
      17             Q.    And       do    you       work       in    the    Fort       Lee,
      18      New    Jersey,          office?
      19             A.    Yes.
      20             Q.    And       so    does       Mr.       Shin?
      21             A.    Yes.
      22             Q.    Do    you       socialize             outside          of
      23      work?
      24             A.    With       myself          or?
      25             Q.    With       you       and    Mr.       Shin.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 19 of 114 PageID #: 731


                                                                                    Page 18
       1                                        J.    KIM
       2             A.       Not    much.
       3             Q.       But    occasionally?
       4             A.       Like,       rarely.
       5             Q.       Do    you    consider          him    a    friend          or
       6      more    of       a    business          associate          or    both?
       7             A.       Both.
       8             Q.       Okay.        All       right.
       9                      So    when       Mr.    Park    took       Mr.       Shin
      10      out,    how          long    were       you    in    that       room
      11      before          that       happened,          how    many       minutes?
      12             A.       Probably          like       hour    and    a    half,
      13      two    hours.
      14             Q.       Before       he    left?        Before          Mr.       Shin
      15      left    with          Mr.    Park,       how    long       were       you
      16      in    the       room       for?
      17             A.       10    or    15    minutes.
      18             Q.       Okay.        During          those    10    or       15
      19      minutes,             how    much       did    you    see    Mr.       Shin
      20      drink?
      21             A.       Not    much       but    --    it    was    a    very
      22      short       time       period          so,    like,       three       to
      23      four,       I    don't       recall          exactly.
      24             Q.       Three       to    four       shots?
      25             A.       He    had    a    lot    of    drinks.           I    can't
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 20 of 114 PageID #: 732


                                                                                    Page 19
       1                                     J.    KIM
       2      tell    you       exactly          how    many       shots       he       had.
       3             Q.    Was    that       just       from       that       one
       4      bottle       when       you    walked          into       the    room?
       5             A.    Yes.
       6                         MR.    WEISSLER:              Was       that
       7             within       the       15    minutes          he    had
       8             three       to    four       shots?
       9                         MS.    BERKOWITZ:                 Yes.
      10             Q.    What       did    CPA       Park    tell       Mr.       Shin
      11      before       they       walked       out       together?              You
      12      said    that       he    wanted          him    to    meet       some
      13      potential          clients?
      14             A.    Yeah.
      15             Q.    Do    you    remember             anything          else
      16      about       the    conversation?
      17             A.    No.
      18             Q.    So    then       CPA    Park       left       with
      19      Mr.    Shin?
      20             A.    Yes.
      21             Q.    And    you       stayed       in    there          with
      22      Chung       Lee?
      23             A.    Chung       Lee       and    other       party,          I
      24      don't       have    his       name.
      25             Q.    Did    you       know       Chung       Lee    before
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 21 of 114 PageID #: 733


                                                                                    Page 20
       1                                        J.       KIM
       2      that    night?
       3             A.    I    met       him       once.
       4             Q.    And       where          was    that?
       5             A.    In    Flushing.
       6             Q.    Was       that       a    business         meeting        or    a
       7      social       gathering?
       8             A.    No,       we    had       a    company       dinner       at
       9      his    restaurant             where          Chung      Lee
      10      operated.
      11             Q.    All       right.
      12                   Now,       when          Mr.    Park    left       with
      13      Mr.    Shin,       they       went          into    the    room       where
      14      Young       Lee    was?
      15             A.    I    think       so.
      16             Q.    Do    you       know          who   else     was    in
      17      there?
      18             A.    There          was       one    more    guy.
      19             Q.    Do    you       know          his   name?
      20             A.    No.
      21             Q.    How       long       were       Mr.    Park      and
      22      Mr.    Shin       gone       for?
      23             A.    Hour       and       a    half.
      24             Q.    During          that          period    of    time,       did
      25      you    ever       go    into          the    room    to    check       on
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 22 of 114 PageID #: 734


                                                                                   Page 21
       1                                    J.    KIM
       2      Mr.    Shin?
       3             A.   No.
       4             Q.   You    stayed          in       your    room?
       5             A.   Yes.
       6             Q.   What     did      you       do    in    your          room?
       7             A.   Just     sit      there          and    wait          until
       8      Mr.    Shin     comes        back.
       9             Q.   Did    you       ever       hear       of       any    arguing
      10      or    screaming         or    any       problems?
      11             A.   No.
      12             Q.   While       you    were          in    your       room,       was
      13      the    second      bottle          of       alcohol          ordered?
      14             A.   I   don't        recall          that.
      15             Q.   And    how       much       did       you       drink
      16      during      the    hour       and       a    half?
      17             A.   I   didn't        drink.
      18             Q.   You    stopped          drinking                after    you
      19      took    that      one    shot?
      20             A.   Yes.
      21             Q.   And    you       were       sober?
      22             A.   Mhmm.
      23             Q.   Yes?
      24             A.   Yes.
      25             Q.   During       the       hour       and       a    half    that
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 23 of 114 PageID #: 735


                                                                                    Page 22
       1                                     J.    KIM
       2      Mr.    Shin       was    in    with       Mr.       Park       and
       3      Mr.    Young       Lee,       do    you       know       how    much
       4      Mr.    Shin       drank       during          that       hour    and       a
       5      half?
       6             A.    I    don't       know.
       7             Q.    When       for    the       next       time       did    you
       8      see    Mr.       Shin?
       9             A.    I    went    into       --       into       the    room
      10      where       Mr.    Shin's          staying          to    let    him
      11      know    we're       leaving          to       see    whether
      12      Mr.    Shin       wanted       to    leave.
      13             Q.    And    what       did       he    say?
      14             A.    He    said       he    wanted          to    leave.
      15             Q.    What       did    you       observe          when       you
      16      went    into       that       room?
      17             A.    They       were       sitting          together.
      18             Q.    Who    was       sitting          together?
      19             A.    Mr.    Shin       and       Mr.    Lee       on    the
      20      other       side    and       the    other          party       was    in
      21      there       sitting.           Three          people       --    three
      22      guys    were       sitting          in    that       room.
      23             Q.    Daniel       Park       was       there       also?
      24             A.    Daniel       Park       wasn't          in    the       room.
      25             Q.    Where       was       he?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 24 of 114 PageID #: 736


                                                                                    Page 23
       1                                     J.       KIM
       2             A.    I    don't    know.
       3             Q.    You    didn't          --
       4             A.    I    think    he       went          back    to    my    room
       5      for    that       hour    and       a    half       time       period.
       6             Q.    When    you       went       into          the    room,       you
       7      saw    Mr.       Shin,    Young          Lee,       and       who?
       8             A.    The    other          guy,       I    don't       have    that
       9      name.
      10             Q.    Do    you    know          who       the    other       guy
      11      was?
      12             A.    I    think    he       was       the       other
      13      business          owner,       I    don't          know.
      14             Q.    When    you       went       in,       what       did    you
      15      observe?
      16             A.    They    were          just       sitting          and
      17      relaxing.
      18             Q.    Did    you    notice             any       problems?
      19             A.    I    don't    see          any       problems(sic).
      20             Q.    Did    Mr.    Shin          appear          intoxicated
      21      to    you?
      22             A.    Seems       like       it,       yes.
      23             Q.    What    did       you       base       that       on?
      24             A.    He    was    so       relaxed.
      25             Q.    Relaxed?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 25 of 114 PageID #: 737


                                                                                       Page 24
       1                                     J.    KIM
       2             A.    He    was    sitting          back          like       that
       3      (indicating).
       4             Q.    Indicating             back       on       the    couch?
       5             A.    Yes.
       6             Q.    Did    he    seem       angry          or    upset          or
       7      agitated?
       8             A.    No.
       9             Q.    What       else,       besides             him    being
      10      relaxed,          which       led    you       to       believe          he
      11      was    intoxicated?
      12             A.    That's       about          it.
      13             Q.    What       about       Young       Lee,          did       you
      14      observe       anything             about       him?
      15             A.    No,    I    didn't          have       a    chance          to
      16      see    him    because          I    got    into          the    room          and
      17      I    asked    for       Mr.    Shin       to    leave          and       he
      18      said,       "Okay.        We'll          leave,"          and       I    took
      19      him    out.
      20             Q.    Did    you       see    Mr.       Lee       consume             any
      21      alcohol       that       night?
      22             A.    At    the    time       I    didn't          recognize
      23      it    but    there       were       silver          bottles             on
      24      their       table,       seems       like       they          been
      25      drinking.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 26 of 114 PageID #: 738


                                                                                    Page 25
       1                                        J.    KIM
       2                         MS.       BERKOWITZ:              Move       to
       3             strike          anything          nonresponsive.
       4             Q.    Did       you    witness          Mr.       Young       Lee
       5      drinking          any    alcohol?
       6             A.    I    didn't          see    him    drink.
       7             Q.    Okay.           So    besides          for       seeing
       8      Mr.    Shin       relaxing,             did    you       notice
       9      anything          else       in    that       room       at    that    time
      10      when    you       walked          in?
      11             A.    No.
      12             Q.    Did       you    notice          any    arguing          or
      13      fighting          or    anything             like    that?
      14             A.    No.
      15             Q.    Okay.           When       you    came       into       the
      16      room    and       asked       Mr.       Shin    if       he    wanted      to
      17      leave,       what       did       he    say?
      18             A.    He    said       he       wanted       to    leave.
      19             Q.    Then       what       happened?
      20             A.    I    take       him       out    and    we       walked
      21      through          the    hallway.
      22             Q.    What       do    you       mean    "take          him    out,"
      23      did    you       escort       him?
      24             A.    Yeah,       I    helped          him    out       to    stand
      25      and    then       we    walked          out    together.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 27 of 114 PageID #: 739


                                                                                      Page 26
       1                                        J.    KIM
       2             Q.    Why'd          you    help       him      to    stand?
       3             A.    He       seems       very       tired.
       4             Q.    Was       he    also       intoxicated?                   Is
       5      that    why       you       helped       him?
       6             A.    I    believe          so,       yes.
       7             Q.    After          you    helped          him      stand,          what
       8      did    you       do    next?
       9             A.    We       walked       out       of    the      door       with
      10      Chung       Kane       Lee    and       we    all      three       walked
      11      in    the    hallway          toward          the      exit       and
      12      Mr.    Lee       followed          out.
      13             Q.    Mr.       Young       Lee?
      14             A.    Young          Lee,       the    guy      who    kicked
      15      Mr.    Shin,          and    he's       following            us    and       we
      16      were    standing             at    the       platform         at       the
      17      right       front       of    the       stairway.
      18             Q.    Do       you    know       why       he   was    following
      19      you    out?
      20             A.    I    don't       know.
      21             Q.    When       you       were       walking         Mr.       Shin
      22      out    with       Chung       Lee,       was       there      any
      23      arguing?
      24             A.    No.
      25             Q.    Was       Mr.    Shin       being         loud       or
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 28 of 114 PageID #: 740


                                                                                 Page 27
       1                                        J.    KIM
       2      verbally          aggressive             or    anything?
       3             A.    No,       not    really.
       4             Q.    What       do    you       mean    "not       really"?
       5             A.    I'm       sorry,          your    question          again.
       6             Q.    Was       Mr.    Shin       --    when       you    were
       7      walking          out    --    was       he    yelling       or
       8      cursing          or    being       angry       or    anything?
       9             A.    No.
      10             Q.    Okay.           So    you       were    just       walking
      11      out    normally             and    you       were    helping
      12      Mr.    Shin,          and    Young       Lee    followed          you?
      13             A.    Yes.
      14             Q.    Do       you    know       why    he    followed          you?
      15             A.    I    don't       know.
      16             Q.    Was       he    saying          anything?
      17             A.    He's       the       guy    who    was       yelling       and
      18      talk       loud(sic).
      19             Q.    What       was       he    yelling?           What    were
      20      his    words?
      21             A.    I    don't       remember          what       he    was
      22      saying.           He    was       mumbling          and    his
      23      pronunciation                wasn't          clear    enough       for
      24      me    to    hear       and    I    was       helping       Mr.    Shin
      25      too,       you    know,       walk       out    of    the
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 29 of 114 PageID #: 741


                                                                                    Page 28
       1                                     J.    KIM
       2      hallway          --    walking       him       through          the
       3      hallway,          so    I    really       don't       know.
       4             Q.    Was       he    speaking          English          or
       5      Korean?
       6             A.    Speaking          Korean.
       7             Q.    Do       you    speak       Korean?
       8             A.    I    do.
       9             Q.    Do       you    understand          any       words          of
      10      what    he       was    saying?
      11             A.    He       kept    saying,          "Why       are    you
      12      leaving?"
      13             Q.    Okay.           Did    anybody          respond          to
      14      that?
      15             A.    No,       we    wanted       to    go    home.           I
      16      think       Mr.       Shin    responded,             "I    want       to       go
      17      home."
      18             Q.    What       was    Shin's          tone       when       he
      19      said    that?
      20             A.    Very       casual.
      21             Q.    Did       Young       Lee    say    anything             in
      22      response          to    that?
      23             A.    I    don't       quite       recall.
      24             Q.    When       you    got       to    the    landing,
      25      what    happened?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 30 of 114 PageID #: 742


                                                                                          Page 29
       1                                        J.       KIM
       2             A.    And    I       guess          he    tried          to    close          --
       3             Q.    Who?
       4             A.    Young          Lee.
       5             Q.    Tried          to    what?
       6             A.    Getting             close          to    Mr.       Shin       and
       7      since       his    behavior                and,       you       know,
       8      acting       like       a    drunk          guy,       so       I    and
       9      Mr.    Chung       Kane          Lee       were       probably             in    the
      10      same    position             to       block          him    away       from
      11      Mr.    Shin.
      12             Q.    Who    was          acting          like       a       drunk       guy?
      13             A.    Mr.    Lee.
      14             Q.    What       was       he       doing,          acting          like       a
      15      drunk?
      16             A.    His    behavior,                   yelling,             "Why       are
      17      you    leaving,"             something                like          that.        I
      18      think       they    had          some       conversation                   at    the
      19      platform          right          in       front       of    the
      20      stairway.
      21             Q.    Who    had          the       conversation?
      22             A.    Mr.    Lee          and       Mr.       Chin       and    Chung
      23      Kane    Lee.
      24             Q.    What       was       the       conversation?
      25             A.    Still          --        I    remember             him    still
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 31 of 114 PageID #: 743


                                                                                    Page 30
       1                                     J.    KIM
       2      saying,          "Why    are       you    leaving?"
       3             Q.    And       that    was       basically          what      you
       4      recall?
       5             A.    Yes.
       6             Q.    What       were       you    doing       on    the
       7      landing?
       8             A.    I    was    trying          to    stay    away       from
       9      Mr.    Shin(sic).
      10             Q.    Why       were    you       trying       to    stay      away
      11      from       Mr.    Shin?
      12             A.    Because          it    seems       like       his
      13      behavior          wasn't       really          normal.
      14             Q.    Shin?
      15             A.    No,       Young       Lee.
      16             Q.    What       do    you    mean       by    not    normal?
      17             A.    Because          he's       yelling       and       asking
      18      the    same       questions          over       again.
      19             Q.    What       was    Mr.       Shin       doing    while
      20      Mr.    Lee       was    yelling?
      21             A.    He    said       --    well,       in    question         to
      22      "Why       are    you    leaving,"             he    said,       "I   want
      23      to    go    home,"       and       that       was    the    part      that
      24      I    remember.
      25             Q.    Okay.           Can    you       see    Mr.    Shin      give
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 32 of 114 PageID #: 744


                                                                                       Page 31
       1                                        J.    KIM
       2      Young          Lee    the    finger?
       3                A.    Yes.
       4                Q.    Okay.        Do    you       know       why    he    did
       5      that?
       6                A.    I    don't       know,       maybe          some    sort     of
       7      disagreement                between          two       of    them,       I
       8      don't          know.
       9                Q.    What       was    the       disagreement             for
      10      why       you       were    going       home?
      11                A.    I    don't       know.
      12                Q.    What       was    Chung          Lee    doing       during
      13      this          time?
      14                A.    He's       trying       to       --    same    situation
      15      as    I       did(sic).           He    was       trying       to    block
      16      him       away       from    Mr.       Shin       and       he's    hugging
      17      and       I    think       shaking          hands       at    the    time,
      18      Mr.       Chung       Lee    with       Young          Lee.
      19                Q.    Do    you    know       why       he    was    doing
      20      that?
      21                A.    I    don't       know,       I    think       Chung
      22      Kane          Lee    known       him    a    very       long       time
      23      ago,          like    met    him       once       or    twice       before.
      24                Q.    When       did    Chung          Lee    tell       you
      25      that,          after       this    incident?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 33 of 114 PageID #: 745


                                                                                    Page 32
       1                                        J.    KIM
       2             A.    Yeah.
       3             Q.    Did       you       know    that       at    the    time?
       4             A.    Yeah.
       5             Q.    So    besides             from    Chung       Lee,
       6      Young       Lee,       and       you,    was    there       anybody
       7      else    on       the       landing?
       8             A.    I    think          only    four       persons          were
       9      there.
      10             Q.    How       long       did    this       exchange          go    on
      11      when    the       four       of    you    were       on    the
      12      landing          before          the    incident?
      13             A.    It    was       very       quick,       not    too       long,
      14      less    than       five          minutes.
      15             Q.    Okay.           And       what    do    you    recall
      16      happening          right          before       Mr.       Shin    fell?
      17             A.    Well,          same       thing,       that    they're
      18      talking          and       I'm    just    concentrating                on,
      19      you    know,       trying          to    block       him    away       a
      20      little       bit.
      21             Q.    Were          you    doing       anything
      22      physically?
      23             A.    No,       I    was    just       standing          in    the
      24      middle.
      25             Q.    With          your    body?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 34 of 114 PageID #: 746


                                                                                       Page 33
       1                                     J.    KIM
       2             A.    Yes,       between          Young          Lee       and
       3      Mr.    Shin.
       4             Q.    And       then    what       happened?
       5             A.    And       then    he    fell.
       6             Q.    What's          the    last       thing          you
       7      remember          happening          before             Mr.       Shin
       8      fell?
       9             A.    Chung       Kane       Lee       and       I    stay       in   the
      10      middle       between          Young       Lee       and       Mr.       Shin
      11      and    they       were       talking          and       somehow
      12      Mr.    Shin       fly    down       --    I    mean          he    fell
      13      down    to       the    stairway          and       I       got    really
      14      surprised          and       shocked          and       I    followed
      15      Mr.    Shin       downstairs             and    called             the
      16      waiter       --    or    the       employee             in    the
      17      karaoke          bar    called       911.
      18             Q.    How       did    you    get       the          employee?
      19             A.    I    called       him,       I    think          they
      20      walked       out.
      21             Q.    And       then    you       told       the
      22      employee          --
      23             A.    To    call       911.
      24             Q.    And       then    the       police             arrived?
      25             A.    And       then    I    asked       him          to    call
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 35 of 114 PageID #: 747


                                                                                    Page 34
       1                                        J.    KIM
       2      both    911       and    police          officer(sic).
       3             Q.    Okay.        When          the    police          officer
       4      arrived,          did    you       talk       to    the       police
       5      officer?
       6             A.    Yes.
       7             Q.    Did    they          ask    you       any    questions?
       8             A.    He    was    asking             what    happened          and
       9      I    explained.
      10             Q.    What       did       you    explain?
      11             A.    We    were       --       like    same       situation.
      12      We    were    in    the       room       and       then       Mr.    Shin
      13      went    to    other       room          for    I    think       a
      14      business          purpose          and       then    I    take       him
      15      out    and    then       he       followed          and       then    he
      16      kicked       him.
      17             Q.    Did    you       see       --    who    kicked          who?
      18             A.    Young       Lee       kicked          Mr.    Shin.
      19             Q.    How    do    you          know    that?
      20             A.    Because          I    --    I    kind       of    feel    it.
      21      I    didn't       really          see    where       he       kicked       but
      22      his    leg    --    something                was    on    my    side.        I
      23      was    standing          on       the    left       side       and    Chung
      24      Lee    was    on    the       right          side    and       between
      25      us    there's       something                moving       through          my,
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 36 of 114 PageID #: 748


                                                                                       Page 35
       1                                     J.       KIM
       2      you    know,       right       side,          and          Mr.    Shin       got
       3      fell(sic).
       4             Q.    You    didn't          see       him          kick?
       5             A.    I    didn't       see          him       kick.
       6             Q.    But    you       saw       something?
       7             A.    I    feel    it,       I       feel       his       movements.
       8             Q.    What       did    you          feel?
       9             A.    Something          go          through          on    my    side,
      10      my    right       side.
      11             Q.    Did    you       see       what          went       through?
      12             A.    Not    really,             I    was       seeing          his
      13      face,       Young       Lee    at       the       time.
      14             Q.    Right?
      15             A.    So    if    you're             asking          me    if    Lee
      16      really       kicked       him,          did       I    see       it?     No.
      17             Q.    Did    you       ever          bump       into       Mr.    Shin
      18      before       he    fell?
      19             A.    No.
      20             Q.    We    previously                marked          an    invoice
      21      or    receipt       as    Exhibit             C       on    February
      22      1st,    2019,       have       you          ever       seen       that
      23      before?
      24             A.    No.
      25             Q.    I'm    going       to          represent             to    you
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 37 of 114 PageID #: 749


                                                                                 Page 36
       1                                     J.       KIM
       2      that    this       is    the       receipt          for
       3      Young       Lee's       room.           Okay?
       4             A.    Okay.
       5             Q.    Do    you       know       who    paid       that    bill?
       6             A.    I    don't       know.
       7             Q.    Did       you?
       8             A.    I    didn't       pay       it.
       9             Q.    Did       Mr.    Shin?
      10             A.    I    don't       know.
      11             Q.    Okay.           Mr.    Shin       testified          at    his
      12      deposition             that    he       usually       has    about       a
      13      thousand          or    $1,100          in    his    wallet       and
      14      when    he       woke    up    at       the    hospital,          it
      15      wasn't       in    there;          do    you       know    what
      16      happened          to    his    money?
      17             A.    I    don't       know.
      18             Q.    Do    you       know       if    he    paid    this
      19      bill?
      20             A.    I    don't       know.
      21             Q.    Some       time       after       this       incident
      22      happened,          did       Mr.    Shin       come       back    to
      23      work?
      24             A.    After       the       incident?
      25             Q.    Right.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 38 of 114 PageID #: 750


                                                                                       Page 37
       1                                        J.    KIM
       2             A.    Yes,    he       came       back       to       work,       yes.
       3             Q.    And    when          he    came       back       to       work,
       4      did    he    have    the          same       duties          as    he    did
       5      before       he    left?
       6             A.    Not    really.              Not       normally;             he
       7      doesn't       participate                in       his    business
       8      operations          since          he's       Executive
       9      Officer.           Our    bank          is    a    small,          Korean
      10      community          bank       and       most       likely,             even
      11      though       there's          a    lot       of    employees
      12      there,       Chief       Executive                Officer          duty       is
      13      very    important             to       run    the       bank       because
      14      he    made    all    the          big    decisions                but
      15      during       his    absence             period,          I    think          he's
      16      been    absent       for,          I    don't       quite          recall
      17      how    long,       probably             like       three          months          or
      18      four    months       or       five       months          or       so,    so
      19      everything          was       delayed.
      20                   After       he       came       back       he    had       to    go
      21      to    Philadelphia                for    treatment                and    going
      22      forward       --    you       know,          like       over       a    year       I
      23      guess       and    back       and       forth       driving             two
      24      hours       and    back       is       probably          four          hours
      25      driving       twice       a       week       and    I    believe             he
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 39 of 114 PageID #: 751


                                                                                    Page 38
       1                                        J.    KIM
       2      had    another             surgery       recently,             like    two
       3      weeks       before.
       4             Q.    Did       the       bank    hire       anyone       to
       5      fulfill          his       duties?
       6             A.    For       the       Chief       Executive
       7      position?
       8             Q.    Right.
       9             A.    No.
      10             Q.    So       who,       if    anyone,       performed
      11      those       duties          during       Mr.    Shin's          absence?
      12             A.    I    believe             Chairman       of    the
      13      Bank    --       not       his    full       duties       of
      14      Mr.    Shin's          work       but    he    came       to    the    bank
      15      more    often          compared          to    previous          and    we
      16      have    a    number          of       Executive       Officers          to
      17      run    the       bank       but       some    decisions          need       to
      18      be    made       by    the       Chief       Executive.           No    one
      19      can    take       over       Mr.       Shin's       position.
      20             Q.    So       is    Mr.       Shin    back    working          as
      21      the    President             and       the    CEO    now?
      22             A.    Yes.
      23             Q.    And       have       you    noticed          any
      24      difference             in    his       performance?
      25             A.    Well,          he's       getting       tired       very
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 40 of 114 PageID #: 752


                                                                                      Page 39
       1                                       J.       KIM
       2      easily      compared             to       previous          to    the
       3      incident(sic).
       4             Q.   Anything             else       that       you       observed?
       5             A.   He's          --    well,       his       number       one
       6      talent      was       good       memory          and    I    think       he's
       7      losing      some          memories          after       the
       8      incident.             I    don't          know    if    it's       caused
       9      by    the   incident             happening             but.
      10             Q.   And       have       you       reported          that       to
      11      anybody       at      the       bank?
      12             A.   About          my    feeling?
      13             Q.   Right.
      14             A.   No.
      15             Q.   And       are       you       still       friendly          with
      16      Mr.    Shin?
      17             A.   Well,          I'm       not    --    I    can't       say
      18      it's    friendly               but    we're       good
      19      relationship               as    a    business,             you    know,
      20      the    Chief       Executive               Officer          and    the
      21      employee(sic).
      22             Q.   So     you're            an    employee          of    the
      23      bank    not      of       Mr.    Shin,          right?
      24             A.   Correct.
      25             Q.   Okay.              Now,       without       telling          me
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 41 of 114 PageID #: 753


                                                                                          Page 40
       1                                     J.       KIM
       2      the    substance          of       anything             that          you
       3      might       have    said,          did    you          give       your
       4      attorneys          any    written             statements?
       5             A.    No.
       6             Q.    Did    you    give          any       recorded
       7      statements          into       a    tape       recorder?
       8             A.    No.
       9             Q.    Did    you    give          any       video
      10      statements?
      11             A.    No.
      12             Q.    Did    you    tell          Mr.       Shin          you    were
      13      coming       here       today?           Did       you       discuss
      14      your    deposition             with       him?
      15             A.    Yes,       well,       I    didn't             discuss          but
      16      I    told    him    I'm    going          to       a    deposition.
      17      I    need    his    permission                to       leave          the
      18      bank.
      19             Q.    Did    he    say       anything                to    you       about
      20      what    type       of    questions             would             be    asked
      21      or    anything          like       that?
      22             A.    No.
      23             Q.    Did    he    give          you    any          instructions
      24      as    what    to    say,       what       not          to    say?
      25             A.    No.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 42 of 114 PageID #: 754


                                                                                             Page 41
       1                                        J.    KIM
       2                            MS.    BERKOWITZ:                    Do    you          want
       3             to    show       the       video?
       4                            MS.    NICOLAOU:                 Whatever                you
       5             want       me    to    do.
       6                            MS.    BERKOWITZ:                    Yeah.              You
       7             can       show       it.
       8    EXAMINATION
       9    BY     MS.    NICOLAOU:
      10             Q.    Good       morning,             Mr.       Kim.           My       name
      11      is    Carmen          Nicolaou.              I    represent
      12      several          individuals                in    this          action          that
      13      Mr.    Shin       has       commenced,                who       owned          the
      14      property          at    the       time       of       Mr.       Shin's
      15      accident.              I'm    going          to       ask       you       a
      16      couple       of       follow-up             questions.                    I'll
      17      try    not       to    repeat          myself.              Please             wait
      18      for    the       questions             to    be       fully       asked
      19      before       answering             it.           We    can't          talk
      20      over       each       other;       you       did       a    pretty             good
      21      job    with       Counsel          over          here       so    I'm          sure
      22      it's       not    going       to       be    an       issue.
      23                   If       you    don't          understand                a
      24      question,             please       let       me       know.           I'll          be
      25      happy       to    rephrase             the       question             for       you.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 43 of 114 PageID #: 755


                                                                                   Page 42
       1                                     J.    KIM
       2      If    you    answer       the       question,          I    can      only
       3      assume       you    understood             it,    okay,         so    it's
       4      important          to    let    me    know       if    you're         not
       5      sure    what       I'm    asking.           Okay?
       6             A.    Okay.
       7             Q.    Your       primary       language             is   Korean,
       8      correct?
       9             A.    Yes.
      10             Q.    But    I    see    your       fluent          in
      11      English,          right?
      12             A.    Yeah,       if    you    feel       that       way.
      13             Q.    Do    you    agree       that       you're         fluent
      14      in    English?
      15             A.    I'm    okay       with    English,             I
      16      understand.
      17             Q.    You    understand             questions            --    you
      18      understand          all       the    questions             that      was
      19      asked       by    prior       Counsel,       right?
      20             A.    Correct.
      21             Q.    You    can       read    and    write          English?
      22             A.    Yes.
      23             Q.    And    prior       to    coming          here      today,
      24      did    you       review       any    documents             in
      25      preparation             for    today's       deposition?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 44 of 114 PageID #: 756


                                                                                    Page 43
       1                                        J.    KIM
       2             A.    No.
       3             Q.    But       you       met    with       your    attorney
       4      prior       to    today's          deposition             to    prepare,
       5      correct?
       6             A.    No,       I    just       arrived       a    little
       7      earlier          so    I    met    him       just    for       the
       8      greeting          purpose.
       9             Q.    For       greeting          purpose?
      10                            MR.    WEISSLER:              Is    that       the
      11             gentleman             sitting          to    your       right.
      12                            THE    WITNESS:              Yes.
      13             Q.    That's          the       one    who's       sitting
      14      with    you       --
      15             A.    Yes,          and    also       Robert       Basil,       he's
      16      sitting          in    his       office.
      17             Q.    Is       he    in    his    office          now?
      18             A.    Yes.
      19             Q.    Mr.       Kim,       let    me    just       clear       up,
      20      you    had       the       vehicle       but       you    were       not
      21      considered             the       designated          driver;          is
      22      that    right?
      23             A.    I'm       not       the    designated             driver.
      24             Q.    So       it    wasn't       that       when       you    went
      25      out    to    dinner          --    you       and    Mr.    Shin       went
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 45 of 114 PageID #: 757


                                                                                       Page 44
       1                                        J.       KIM
       2      out    to    dinner,             in    New       Jersey,          it    wasn't
       3      agreed       to    that          you       would       be    the
       4      designated             driver?
       5             A.    That       is       correct,          I'm       the       one    who
       6      brought       the       car       to       the    restaurant.
       7             Q.    And       from       there          you    drove
       8      Mr.    Shin       to    the       karaoke          bar?
       9             A.    Yes.
      10             Q.    Now,       I       understand             you    were
      11      brought       into          one       room       where       CPA       Park
      12      was    in;    is       that       right;          the       1st    room?
      13             A.    Yes.
      14             Q.    And       is       that       where       Mr.    Park       was
      15      in    the    first          room       or    was       it    where
      16      Mr.    Chung       Lee          was    in    the       first       room?
      17             A.    Chung          Lee       and    CPA       Park       and    other
      18      person,       I    don't          have       his       name       right
      19      now;    three          people          were       in    the       room       and
      20      Mr.    Shin       and       I    went       into       that       room.
      21             Q.    The       first          room       you    entered          was       a
      22      room    where          Mr.       Chung       Lee       was    in,       CPA
      23      Park    was       in,       and       an    individual             you
      24      don't       know       the       name;       is    that       right?
      25             A.    Yes.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 46 of 114 PageID #: 758


                                                                                       Page 45
       1                                        J.    KIM
       2             Q.    So    it       was       you,    those          three
       3      individuals(sic),                      Mr.    Shin,          and
       4      yourself?
       5             A.    Yes.
       6             Q.    And       that       was    about          for    10    to    15
       7      minutes?
       8             A.    10,       15    minutes,             yes.
       9             Q.    And       at    that       point,          Mr.    Shin       left
      10      that    room?
      11             A.    If    I    remember             correctly,
      12      Mr.    Park       left       the       room       first       and    then
      13      he    came       back       to    our    room          to    take
      14      Mr.    Shin       out.
      15             Q.    And       the       purpose          of    that       was    to
      16      introduce          Mr.       Shin       to    someone          else?
      17             A.    Yes.
      18             Q.    And       do    you       know       who       that    person
      19      was?
      20             A.    I    didn't          know       at    the       time.
      21             Q.    Do    you       know       who       it    is    today?
      22             A.    Mr.       Lee       --    Young       Lee.
      23             Q.    Mr.       Young          Lee?
      24             A.    Yes.
      25             Q.    And       when       Mr.    Shin          left    with
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 47 of 114 PageID #: 759


                                                                                 Page 46
       1                                  J.       KIM
       2      Mr.    Park    to    go    into       another          room,       you
       3      remained       behind       the       entire       time          for    an
       4      hour    and    a    half?
       5             A.    Yes.
       6             Q.    And    in    that       hour    and       a    half,
       7      Mr.    Chung       Lee    was    in    that       room?
       8             A.    Yes.
       9             Q.    And    the    other       individual,                you
      10      don't       remember       the       name    of    right?
      11             A.    Yes.
      12                         MS.    NICOLAOU:           Do       you       have
      13             the    other       (pointing)?
      14                         MS.    BERKOWITZ:              Yes.
      15             Q.    I'm    going       to    show    you          what's
      16      been    previously          marked          Defendant's
      17      Exhibit       B,    dated       February          1st,          2019.
      18                   Now,    this       had    been       testified             to
      19      that    this       particular          bill       or       tab    was
      20      for    the    room       that    you       were    in       with
      21      Mr.    Chung       Lee    and    individual                --    the
      22      room    that       you    first       entered.              And    I
      23      understand          that    you       also    read          Korean;
      24      is    that    right?
      25             A.    Yes.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 48 of 114 PageID #: 760


                                                                                          Page 47
       1                                        J.       KIM
       2             Q.    Can       you       tell          me    what's          written
       3      on    top?
       4             A.    Seems          to    me       it's       a    name       --    a
       5      person's          name;          it       says       "Siyun          Young."
       6                         MR.       COHEN:                 Could       you       spell
       7             those       names,             please?
       8                         THE       WITNESS:                 Spell.
       9             Q.    Why       don't          we       do    this,       there          was
      10      one    name       that's          circled;                is    that       right?
      11             A.    Yes.
      12             Q.    What's          that          name?
      13             A.    S-I-Y-U-N.                    I    just       give       you       the
      14      spelling          as    you       pronounce                it.        I    don't
      15      know    the       exact          spelling             but       that's
      16      Siyun       definitely.
      17             Q.    To    your          understanding,                      that's       a
      18      woman's       name?
      19             A.    That's          a    woman.
      20             Q.    Was       there          a    woman          in    the       room?
      21             A.    Yes.
      22             Q.    Was       that       the          person          you    didn't
      23      know    or    another             person?
      24             A.    It's       a    different                person.
      25             Q.    How       many       people             were       in    that
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 49 of 114 PageID #: 761


                                                                                 Page 48
       1                                     J.    KIM
       2      room    in    total?
       3             A.    Well,       at    the    time       I    got    into    the
       4      room    there       was       just    Chung          Kane    Lee    and
       5      other       guy,    which       I    don't       know       the    name
       6      exactly,          and    CPA    Park       was       there;       only
       7      three       persons       were       there.           Myself       and
       8      Mr.    Shin       got    into       the    room       and    later
       9      on,    some       ladies       came       into       the    room.
      10             Q.    Okay.        Who       were    those          ladies?
      11             A.    Who    were       those       ladies?
      12             Q.    Yes.        Who    were       those       ladies?
      13             A.    Their       employee.
      14             Q.    What       were    they       doing       in    that
      15      room?
      16             A.    Like       service;          drinking,          you
      17      know,       pour    the       drinks       in    the       glass    and,
      18      you    know,       service.
      19             Q.    And    immediately             to       the    right    of
      20      the    name       that    was       circled;          what    is    that
      21      name?
      22             A.    Eve.
      23             Q.    Eve?
      24             A.    Eve.
      25             Q.    Is    that       another       woman?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 50 of 114 PageID #: 762


                                                                                          Page 49
       1                                        J.    KIM
       2             A.    Yes.
       3                         MR.    WEISSLER:                       Spell       that.
       4                         MS.    NICOLAOU:                       E-V-E.
       5                         THE    WITNESS:                    E-V-E,          maybe.
       6             Q.    Okay.        And          to       the       right       of    that?
       7             A.    Yuju,       Y-U-J-U.
       8             Q.    Is    that       a    female's                name?
       9             A.    Seems       like          it.
      10             Q.    The    one       next          to       it?
      11             A.    Seyung,          S-E-Y-U-N-G.
      12                         MR.    WEISSLER:                       Is    that       also
      13             a    woman?
      14                         THE    WITNESS:                    I    believe          so,
      15             I    don't    know          --       I       don't       know.
      16             Q.    It    says       "10:45,"                you       see    that?
      17             A.    Yes.
      18             Q.    Can    you       tell          me       what's          written
      19      underneath?
      20             A.    It    says,          "Jason             and       Mr.    Shin."
      21             Q.    Jason       is       who?
      22             A.    I    don't       know,             I    think       maybe       the
      23      other       guy    that       I    don't             know.
      24             Q.    And    the       other             name       is    Mr.       Shin?
      25             A.    Mr.    Shin.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 51 of 114 PageID #: 763


                                                                                       Page 50
       1                                        J.    KIM
       2             Q.    Is    it       because          they    were       sharing
       3      a    room    --    to       your       knowledge,          was
       4      Mr.    Shin       sharing          a    room       with    another
       5      person?
       6             A.    No,       the    other          person       is    relative
       7      other       parties          --    Chung       Kane       Lee       maybe,
       8      the    guy.        I    don't          know    who    Jason          is
       9      exactly          but    I    don't       know       why    they          put
      10      those       names       on    the       invoices(sic).
      11             Q.    Do    you       know       who    took       care       of
      12      this    particular                tab?
      13             A.    Particular                tab    of    the    whisky?
      14             Q.    No    --       with       the    tab    for       this
      15      room.
      16             A.    I    don't       know.
      17             Q.    When       you       left       that    room,          do    you
      18      know    if       the    bill       was       given    to       be    taken
      19      care    of?
      20             A.    I    don't       know.
      21             Q.    You       didn't          personally          take          care
      22      of    the    bill?
      23             A.    I    didn't,          no.
      24             Q.    You       didn't          observe       anyone          else
      25      taking       care       of    the       bill?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 52 of 114 PageID #: 764


                                                                                                Page 51
       1                                           J.       KIM
       2             A.       I    don't          know.
       3             Q.       You          don't       know          if    you       observed
       4      or    you       did          not    observe?
       5             A.       I    don't          know,          I       did    not       observe
       6      anything.
       7             Q.       In       other       words,                did    you       see
       8      anyone          taking             care       of       this       particular
       9      bill?
      10             A.       No.
      11             Q.       Or       a    bill       of    any          bill       that       came
      12      into       that          room?
      13             A.       No.
      14             Q.       The          room    that          you       were          in?
      15             A.       No.
      16             Q.       Okay.              And    you          remained             in    that
      17      room       consistently                   for          an    hour          and    a
      18      half       about?
      19             A.       Maybe          back       and          forth          to    the
      20      bathroom             and       I    was       really             bored       at       that
      21      time,       so       I       stepped          out          for    a    second          and
      22      I    had    a       cigarette             and          I    don't          know
      23      what's          happening                during             my
      24      absence(sic).
      25             Q.       When          you    smoke             for       --    when       you
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 53 of 114 PageID #: 765


                                                                                          Page 52
       1                                        J.       KIM
       2      smoked,          where          did    you       go;    outside             the
       3      building?
       4             A.    There's             one       small       door       out       --    I
       5      could       go    into          the    out,       there's          a
       6      stairway          different                to    where       we    exited.
       7             Q.    Okay.              That       you    can    --
       8             A.    Yeah,          I    can       have       smoke       there.
       9             Q.    Okay.              Other       than       leaving          the
      10      room    to       use    the       bathroom             and    leaving
      11      the    room       to    smoke,             you    were       pretty          much
      12      in    that       room       for       an    hour       and    a    half;          is
      13      that    right?
      14             A.    Right.
      15             Q.    So       you       didn't          see    Mr.    Shin          at
      16      all    for       an    hour       and       a    half,       right?
      17             A.    Correct.
      18             Q.    And       the       first          time    you       saw
      19      Young       Lee       was       when       you    went       in    to       see
      20      Mr.    Shin       and       asked          if    he    wanted          to
      21      leave?
      22             A.    Yes.
      23             Q.    Okay.              Now    let's          talk    about
      24      that.        You       left       that          room    and       you       went
      25      straight          to    the       other          room?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 54 of 114 PageID #: 766


                                                                                          Page 53
       1                                           J.    KIM
       2             A.    Yes.
       3             Q.    How       did       you       know          which    room       to
       4      go    to?
       5             A.    I    was       following                Chung       Kane       Lee
       6      at    the    time.
       7             Q.    Okay.              So    you          and    Mr.    Lee       left
       8      together?
       9             A.    Yes.
      10             Q.    Chung          Lee?
      11             A.    Yes.
      12             Q.    And       you       left          together          and
      13      Mr.    Chung          Lee       took       you       to    the    second
      14      room?
      15             A.    I    don't          quite             recall       for    --    I
      16      was    just       following                Chung          Kane    Lee       and
      17      then    we       got    into          that          room    and       Mr.    Shin
      18      was    there.
      19             Q.    Okay.              Now,       I       know    you    said       you
      20      left    the       first          room          a    couple       of    times
      21      to    smoke       a    cigarette                   and    just    to       use
      22      the    restroom,                did       you       observe       Mr.       Chung
      23      Lee    use       that       rest          room       for    any       reason?
      24             A.    I    don't          recall,             you    know,          within
      25      the    hour       and       a    half          they       could       be    in
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 55 of 114 PageID #: 767


                                                                                       Page 54
       1                                        J.    KIM
       2      and    out.        I    can't          really,       you       know,
       3      track       down.
       4             Q.    You       have       no    recollection                one    way
       5      or    the    other       if       Mr.    Chung       Lee       left       that
       6      room?
       7             A.    No.
       8             Q.    When       you       entered          the    second          room
       9      where       Mr.    Shin       was       at,    did       you    enter
      10      that    room       with       Mr.       Chung       Lee?
      11             A.    Yes.
      12             Q.    And       when       you    entered          that       room,
      13      you    observed          Mr.       Shin       sitting          on    the
      14      couch?
      15             A.    Yes.
      16             Q.    Looking          relaxed          I    think       you       said
      17      and    laid       back?
      18             A.    Yes.
      19             Q.    And       was    Mr.       Young       Lee    in       that
      20      room?
      21             A.    Yes.
      22             Q.    Okay.           Where       was       he?
      23             A.    He    was       on    the    other          side       of    the
      24      chair,       couch.
      25             Q.    Was       there       anybody          else       in    that
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 56 of 114 PageID #: 768


                                                                                   Page 55
       1                                        J.    KIM
       2      room    other          than       Mr.    Young       Lee       and
       3      Mr.    Shin?
       4             A.    There's          a    one       guy,    another         one
       5      guy    there,          and    one       lady    was       in    that
       6      room.
       7             Q.    Okay.           Was       anyone       passed       out      on
       8      the    couch?
       9             A.    "Passed          out"       means       like
      10      sleeping?
      11             Q.    Sleeping.
      12             A.    No.
      13             Q.    Everybody             was       awake?
      14             A.    Everybody             was       awake,       yes.
      15             Q.    Well,          everybody          was       having      a
      16      conversation?
      17             A.    Well,          they       were    quiet          when   I    got
      18      into    that          room    because          they       were
      19      looking          at    me    like       who    you       are
      20      maybe(sic).
      21             Q.    Nobody          was       arguing,          no    bottles
      22      were    being          thrown,          it    was    a    pretty         calm
      23      room;       is    that       fair       to    say?
      24             A.    Yes.
      25             Q.    And       just       to    be    clear,          nobody      was
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 57 of 114 PageID #: 769


                                                                                       Page 56
       1                                        J.    KIM
       2      passed       out       on    the       couch?
       3             A.    No.
       4             Q.    And       the       first       room       you       were    in,
       5      was    anybody          passed          out       on    the       couch?
       6             A.    I    don't          recall.
       7             Q.    Do    you       recall          --    CPA       Park,       was
       8      he    passed       out?
       9             A.    I    think          he    was    asleep,             the    first
      10      room.        Let's          make       it    "first          room"       and
      11      "second          room"       --       first       room.
      12             Q.    Mr.       Park       was       not    in       the    same
      13      room    as       Mr.    Shin?
      14             A.    Actually,                Mr.    CPA       Park       took
      15      Mr.    Shin       out       to    that       room,          too,    and    I
      16      think       after       he       came       back       by    himself.
      17             Q.    And       he    came       back       by       himself       and
      18      he    stayed       in       that       room?
      19             A.    Room       one,          yes.
      20             Q.    Room       one.           So    he    didn't          stay    in
      21      room    two       for       any       long    period          of    time?
      22             A.    Not       for       hour       and    a    half,       two
      23      hours.
      24             Q.    And       at    the       time       you       went    to    see
      25      Mr.    Shin,       CPA       Park       wasn't          in    there?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 58 of 114 PageID #: 770


                                                                                          Page 57
       1                                           J.    KIM
       2             A.    Wasn't             in       there.
       3             Q.    You       helped             Mr.       Shin       off    the
       4      couch?
       5             A.    Yes.
       6             Q.    Would          it       be    fair       to       say    that
       7      Mr.    Shin       is       not       a    small       guy?
       8             A.    Well,          I    can't          --    I       pretty       strong
       9      enough.
      10             Q.    I    didn't             ask       about          your
      11      strength.              Mr.       Kim,          I'm    asking          about
      12      Mr.    Shin,       he's          not       a    small          guy,    right?
      13             A.    Not       a    small          guy.
      14                         MR.          WEISSLER:                 How    tall       was
      15             he?
      16                         THE          WITNESS:              Same       tall       as
      17             I,    like          5'10.
      18             Q.    But       heavier?                 And       I    say    that
      19      coming       from          another             person          who's       heavy.
      20             A.    He's          heavier.
      21                         MR.          WEISSLER:                 What       did
      22             Mr.       Shin       weigh          approximately?
      23                         THE          WITNESS:              I       don't    know,
      24             like       200       pounds,             I    don't       know.
      25                         MR.          WEISSLER:                 How    much       do
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 59 of 114 PageID #: 771


                                                                                                Page 58
       1                                        J.    KIM
       2             you       weigh?
       3                         THE       WITNESS:                 165.
       4                         MR.       WEISSLER:                    How       much
       5             heavier          is    he       than       you?
       6                         THE       WITNESS:                 I       don't       know.
       7                         MS.       NICOLAOU:                    Are       you       done?
       8             Thank       you.
       9             Q.    When       you       helped          Mr.          Shin       off       the
      10      couch,       did    you       grab          him       by       both       hands?
      11             A.    I    think       I    just       had             my    both          hands
      12      grab    his       one    arm       to       help          him       up.
      13             Q.    When       you       walked          out          of       the       room,
      14      did    you       maintain          support                of       Mr.    Shin?
      15             A.    From       time       to       time          I    let       him       go,
      16      grab    him,       let       him       go,    grab             him.
      17             Q.    That's          because          he          was       --
      18             A.    He    was       kind       of,       yeah             --
      19             Q.    You    got       to       let    me          finish          the
      20      question.
      21             A.    I'm    sorry          about          that.
      22             Q.    As    much       as       it    sounds                like       a
      23      conversation,                it's       not       a       conversation,
      24      it's    a    question             and       answer.                 Okay?
      25             A.    Okay.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 60 of 114 PageID #: 772


                                                                                                      Page 59
       1                                              J.          KIM
       2                Q.    So    you          would             assist             Mr.       Shin
       3      from       time       to       time,                and       is       it    because          he
       4      was       wobbly          on       his          feet,          not          steady       on
       5      his       feet?
       6                A.    That       I       cannot                say.           His       feet
       7      wasn't          really,                you          know,          wobbly          but    I
       8      was       worried.                 I    feel             that          he    was    drunk
       9      so    I    was       trying             to          help       him          out    if    he
      10      need       it,       so    I       was          kind          of       paying
      11      attention             so       I       can          grab       him          right       away,
      12      so    I    was       really             focusing                   on       him.
      13                Q.    When       you          were             focusing             on    him,
      14      did       you       observe             him          to       be       steady       or    did
      15      you       observe          him          to          be    --
      16                A.    A    little             bit,             yes.
      17                Q.    His       balance                   being          a    little          bit
      18      off?
      19                A.    I    mean          he       can          --    based          on    my
      20      recollection                   and          I       think          he's       been       --
      21      he's       walking             himself,                   you          know.
      22                Q.    Okay.              So       your          recollection                   was
      23      he    was       walking                in       a    stable             and       steady
      24      manner?
      25                A.    I    believe                so       and       I       was    just
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 61 of 114 PageID #: 773


                                                                                          Page 60
       1                                           J.    KIM
       2      worried,             he    looks          like       he    was    drunk          so
       3      if    he    needed             it,    I    was       going       to    help
       4      him    right          away,          so    I    was       focusing          on
       5      him.
       6             Q.       Mr.       Shin,       he's       considered             your
       7      boss,       correct?
       8             A.       Yes.
       9             Q.       Meaning          he       can    fire       you,       hire
      10      you;       is    that          right?
      11                            MR.       COHEN:           Object          to    the
      12             form          of    the       question.
      13             Q.       He    can       fire       you       if    he    waned       to;
      14      is    that       correct?
      15             A.       Not       by    himself          but       he    needs
      16      reason.
      17             Q.       But       he    did       have       the    power       to
      18      fire       you?
      19             A.       He    can       make       the       decision.
      20             Q.       How       long       have       you       worked       at
      21      Noah       Bank?
      22             A.       Now       it's       approaching                the    seventh
      23      year.
      24             Q.       And       did    you       know       Mr.       Shin    before
      25      you    started             working             for    Noah       Bank?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 62 of 114 PageID #: 774


                                                                                          Page 61
       1                                           J.       KIM
       2             A.    No.
       3             Q.    Had       you          ever       gone       out    with
       4      Mr.    Shin       before             that       night?
       5             A.    Before             that          night?
       6             Q.    Yes.
       7             A.    Yes,       not          many       times       but,       yes.
       8             Q.    Have       you          gone       out       with    Mr.       Shin
       9      when    alcohol             was          being       served?
      10             A.    Not       this          kind       of    place       but,       yes,
      11      other       places.
      12             Q.    Have       you          gone       out       with    Mr.       Shin
      13      where       he    consumed                alcohol          to    the       point
      14      where       he    became             intoxicated?
      15             A.    I    don't             see       much,       actually,          I
      16      don't       know.           I       don't       go    out       with       him
      17      unless       it's       a       company             dinner       or    stuff.
      18             Q.    If    I    were             to    tell       you    that
      19      there's          been       testimony                that       Mr.    Shin,
      20      when    he       drinks             --    when       he    used       to
      21      drink,       he    would             always          drink       to    excess,
      22      would       that       be       a    fair       and       accurate
      23      description             of          Mr.       Shin's       habits?
      24             A.    I    don't             know,       that's          Mr.    Shin's
      25      habits.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 63 of 114 PageID #: 775


                                                                                       Page 62
       1                                     J.       KIM
       2             Q.    You've          never          observed          Mr.    Shin
       3      drink       to    excess,          prior          to       that    night?
       4             A.    I    really       --       I       don't       know.
       5             Q.    You    don't          know?
       6             A.    I    don't       know.
       7             Q.    Have       you    ever             been       considered          a
       8      designated          driver          or          driver       for
       9      Mr.    Shin?
      10             A.    No.
      11             Q.    On    prior       occasions                   other    than
      12      that    night?
      13             A.    No.
      14             Q.    Okay.           And    when          you       assisted
      15      Mr.    Shin       off    the       couch          and       walked       him
      16      out    of    the    room,          did          Mr.    Chung       Lee
      17      follow       you?
      18             A.    Yes,       we    were          together.
      19             Q.    Was    Mr.       Chung             Lee    walking       or
      20      escorting          you       and    Mr.          Shin       out?
      21             A.    We    were       together                actually,          yeah.
      22             Q.    When       you    arrived                to    the    karaoke
      23      bar,    how       did    you       --       I    think       it's    pretty
      24      much    agreed          to    that          it's       on    the    upper
      25      level.           There       was    a       staircase             leading
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 64 of 114 PageID #: 776


                                                                                 Page 63
       1                                        J.    KIM
       2      to    the    upper          floor;       is    that       right?
       3             A.    Yes.
       4             Q.    When       you       arrived          that    night,      how
       5      did    you       go    to    the       second       floor?
       6             A.    I    think       we       had    to    use    the
       7      stairway.
       8             Q.    Use       the    stairway?
       9             A.    Yeah.
      10             Q.    Okay.           Are       you    familiar          whether
      11      or    not    there          was    an    elevator          at    the
      12      premises?
      13             A.    I    didn't          know.
      14             Q.    Okay.           Did       Mr.    Shin    ever       say   to
      15      you    that       night       before          arriving          that   he
      16      would       rather          take       the    elevator?
      17             A.    No.
      18             Q.    So       would       it    be    fair    to    say    that
      19      when    you       were       leaving          that    night,       your
      20      plan    was       to    go    down       the       stairway       that
      21      you    went       up?
      22             A.    Yes.
      23             Q.    And       this       was    your       first       time   at
      24      the    premises?
      25             A.    Yes.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 65 of 114 PageID #: 777


                                                                                             Page 64
       1                                           J.    KIM
       2             Q.    All          right.
       3                               MS.    NICOLAOU:                 Off       the
       4             record.
       5                               (Whereupon,                a    discussion             was
       6             held          off       the    record.)
       7             Q.    Okay.              Mr.       Kim,          I'm    going       to
       8      show    you          a    video       that          was       previously
       9      marked       --          electronically                   marked          as
      10      Exhibit          1       on    March       14th,          2019.           Have
      11      you    seen          a    video       of       the       security
      12      footage          capturing                the       incident
      13      involving                Mr.    Shin?
      14             A.    I       saw       once,       yes.
      15             Q.    How          long       ago?
      16             A.    That's             about          --       that's       a    pretty
      17      long    time             ago.
      18             Q.    Is          it    your       testimony                that    it    was
      19      only    you,             Mr.    Shin,          Mr.       Young       Lee,       and
      20      Mr.    Chung             Lee    on    that          landing?
      21             A.    I       think       so,       yeah.
      22             Q.    Okay.              We're          going          to    play       this.
      23      The    video             is    about       two          minutes          and    22
      24      seconds          long(sic)                --    two       minutes          and       23
      25      three       seconds             long,          excuse          me.        I'm
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 66 of 114 PageID #: 778


                                                                                         Page 65
       1                                     J.       KIM
       2      going       to    hit       play.
       3                   Now,       can    you       tell       me    who's            who
       4      in    this       video?
       5                   I    stopped          it    at    six       seconds            into
       6      the    video.
       7             A.    Okay.           The    left       one       is       Chung
       8      Kane    Lee.
       9             Q.    So    he's       the       one    closest                to   the
      10      wall,       right?
      11             A.    Yes,       and    Mr.       Shin.
      12             Q.    And    Mr.       Shin       --    we're          going         to
      13      play    it       again.        Now,       there's             a
      14      gentleman          here       that's          wearing             a    black
      15      blazer,          green       shirt,       and       glasses,               do
      16      you    see       that?        It    looks          like       an       older
      17      gentleman.              I    stopped          it    at    11          seconds
      18      into    the       video.
      19             A.    Okay.
      20             Q.    Do    you       know       who    that       person            is?
      21             A.    I    think       it's       the       guy    who          I   don't
      22      have    the       name       where       we    stayed             together
      23      in    the    room,          room    one.
      24             Q.    Now,       he    then       goes       off       camera;            is
      25      that    fair       to       say?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 67 of 114 PageID #: 779


                                                                                          Page 66
       1                                           J.       KIM
       2             A.    Right.
       3             Q.    So       you       can't             really       see    him.        Do
       4      you    remember                whether             he    stayed       up
       5      against          the       wall          --       let    me    ask    you
       6      this,       seeing             his       face       in       this    video,
       7      does    that          refresh             your          recollection
       8      whether          he    was          on    the       platform          at    the
       9      time    of       the       accident?
      10             A.    I    don't             recall          for       that.
      11             Q.    The       four          of       you       --    well,    there
      12      were    five          of       you,       but       the       group    of       you
      13      that    walked             into          that       door       to    the
      14      platform,             that          was       a    glass       door?
      15             A.    Yes.
      16             Q.    That          led       from          the       karaoke       bar    to
      17      the    platform                to    the          landing       where       the
      18      staircase             is;       is       that       right?
      19             A.    Yes.
      20             Q.    Okay.              Was       there          another       door
      21      off    of    that          landing                other       than    the       one
      22      you    used?
      23             A.    I    don't             recall.
      24             Q.    Now,          I    stopped             this       video       at    13
      25      seconds          in,       at       that          point       there's       a
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 68 of 114 PageID #: 780


                                                                                         Page 67
       1                                          J.    KIM
       2      gentleman         in       a    green          shirt       that       we
       3      understand            to       be    Young          Lee;       is    that
       4      right?
       5             A.   Yes.
       6             Q.   And       is       that       you,       sir,       with       your
       7      arm    across         his       chest?
       8             A.   Yes.
       9             Q.   Which          appears             to    be    holding          him
      10      back?
      11                        MR.          COHEN:              Objection          to    the
      12             form.
      13             A.   Yes.
      14             Q.   Are       you       holding             him    back?
      15             A.   I'm       trying             to,       yes.
      16             Q.   And       he       grabs          --    at    that       point,
      17      Mr.    Lynn      grabs          Mr.       Shin's          jacket,          I'll
      18      rewind      it    from          14       seconds          into       the
      19      video.        Okay?
      20             A.   Okay.
      21                        MR.          WEISSLER:                 Can    you       just
      22             stop      there          for       a    moment?              I'm
      23             sorry,         I    don't          mean       to    interrupt.
      24                        Who          is    the       gentlemen             to    the
      25             left      of       Mr.       Shin?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 69 of 114 PageID #: 781


                                                                                       Page 68
       1                                        J.    KIM
       2                         THE       WITNESS:              Chung          Kane
       3             Lee.
       4             Q.    We    stopped             at    15    seconds,             did
       5      you    observe          in    this          video,          Mr.    Lee
       6      grabbing          Mr.    Shin's             jacket?
       7                         MR.       COHEN:              Object       to       form.
       8             A.    Yes.
       9             Q.    And    at       that       point          Mr.    Kim,       where
      10      is    your    left       hand?
      11             A.    My    left       hand          is    grabbing
      12      Young       Lee.
      13             Q.    Where?
      14             A.    On    his       right          arm.
      15             Q.    Okay.           We're          just       playing          it
      16      again.        Okay.
      17                   At    this       point,             are    you       shaking
      18      Mr.    Chung       Lee's          hand?           I'm       stopping          it
      19      at    28    seconds          into       the       video.
      20             A.    No.
      21             Q.    Okay.           Let       me    rewind          it    a    little
      22      bit.
      23             A.    It    seems          --
      24                         MR.       COHEN:              Wait.
      25             Q.    Again,          we    stopped             it    28    seconds
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 70 of 114 PageID #: 782


                                                                                       Page 69
       1                                     J.    KIM
       2      into    the       video.        I    rewinded             it    a    couple
       3      of    seconds       before,          does          it    look       like
       4      you    were       shaking       his       hand?
       5             A.    No.
       6             Q.    Okay.        All       right.
       7                   Can    you    tell          --    I    stopped          at    37
       8      seconds       into       the    video          --       can    you       tell
       9      who    Mr.    Chung       Lee       --    whose          hand       he's
      10      shaking?
      11                         MR.    COHEN:              Objection             to    the
      12             form;       lack    of       foundation.
      13             Q.    Do    you    see       Mr.        Chung          Lee
      14      shaking       someone's             hand?
      15             A.    Yes.
      16             Q.    Okay.        Thank          you.
      17                   Can    you    tell          whose          hand    he's
      18      shaking?
      19             A.    Once    he    makes          an       objection,             do    I
      20      have    to    answer?
      21             Q.    Unless       he    tells          you       not    to
      22      answer,       you    have       to       answer          the
      23      question.
      24             A.    Okay.
      25             Q.    Now,    it's       about          48       seconds          into
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 71 of 114 PageID #: 783


                                                                                    Page 70
       1                                     J.    KIM
       2      the    video,       do    you       recall       what       Mr.       Chung
       3      Lee,    Mr.       Young       Lee,    and    Mr.       Shin       were
       4      talking          about    at    this       point?
       5             A.    No,    I    don't       recall.
       6             Q.    Is    it    your       recollection                that    the
       7      one    thing       that       was    discussed          was       why
       8      are    you       leaving?
       9             A.    Yes.
      10             Q.    And    that       was    being       asked          by
      11      Mr.    Young       Lee?
      12             A.    Yes.
      13             Q.    I'm    stopping          it    at    one       minute
      14      and    43    seconds          into    the    video,             can    you
      15      tell    what       Mr.    Shin's          doing       here?
      16             A.    Middle       finger.
      17             Q.    Who    is    he    holding          it    up       to?
      18             A.    Seems       to    be    to    Young       Lee.
      19             Q.    Do    you    know       why?
      20             A.    I    don't       know,       maybe       some       sort    of
      21      disagreement             with       each    other,          I    don't
      22      know.
      23             Q.    Do    you    remember          what       happened
      24      that    resulted          Mr.       Shin    to    raise          his
      25      middle       finger?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 72 of 114 PageID #: 784


                                                                                          Page 71
       1                                        J.    KIM
       2             A.    I    don't          recall.
       3             Q.    I    don't          remember             if    I    said       it,
       4      that's       one       minute          and       43    seconds             into
       5      the    video.
       6                   One       minute          and       50    seconds             into
       7      the    video.              At    this       point          is    Mr.       Shin
       8      --    is    he    holding          up       his       middle          finger?
       9             A.    Yes.
      10             Q.    And       what's          Mr.       Chung          Lee    doing
      11      at    this       point?           And       I    moved          it    to    one
      12      minute       and       51       seconds.
      13             A.    He's          holding          Young          Lee's       face.
      14             Q.    With          both    hands,             correct?
      15             A.    With          both    hands,             seems          like    it,
      16      yes.
      17             Q.    Do    you          recall          that       being       done
      18      that       night?
      19             A.    It    was,          you    know,          messy
      20      situation,             I    see    it       in    the       video.
      21             Q.    Does          this    refresh             your
      22      recollection                if    you       observed             Mr.       Chung
      23      Lee    put       his       hands       on       Mr.    Young          Lee's
      24      face?
      25             A.    Yeah.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 73 of 114 PageID #: 785


                                                                                    Page 72
       1                                        J.    KIM
       2             Q.    Do    you       know       why?
       3             A.    I    don't          know,       they       are    talking
       4      to    each       other.
       5             Q.    Do    you       know       what       language          they
       6      were    talking             in?
       7             A.    Korean.
       8             Q.    And       you       understood             them?
       9             A.    I    didn't          really          pay    attention          to
      10      their       conversation                at    the       time.
      11             Q.    Was       your       main       concern          Mr.    Shin?
      12             A.    That       is       true,       yes.
      13             Q.    And       --    was       it    your       goal    to    get
      14      Mr.    Shin       out       of    that       building?
      15             A.    Yes.
      16             Q.    One       minute          and    56    seconds          into
      17      the    video.           Mr.       Shin       is    still       holding
      18      up    his    middle          finger,          correct?
      19             A.    Yes.
      20             Q.    And       you're          standing          there,
      21      basically,             kind       of    but       not    really
      22      between          Mr.    Chung          Lee    and       Mr.    Shin;    is
      23      that    right?
      24             A.    I'm       on    the       left       side    of    Chung
      25      Lee.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 74 of 114 PageID #: 786


                                                                                       Page 73
       1                                        J.    KIM
       2             Q.    On    the       --
       3             A.    So    we       are    in    --       Chung       Lee    and
       4      myself       are       in    between          Mr.    Shin       and
       5      Young       Lee.
       6             Q.    Just       because          you       mentioned             left
       7      side,       when       you    say       the       "left       side,"
       8      what    perspective                are       you    looking          at?
       9      Can    you    describe             it    from       the       camera's
      10      perspective?
      11             A.    Camera's             perspective?
      12             Q.    You're          on    the       right       side       of
      13      Mr.    Shin?
      14             A.    Yes.
      15             Q.    We're          looking          at    the    scene          one
      16      minute       and       57    seconds          into       the    video.
      17      Mr.    Shin's          standing,             can    you       describe
      18      to    me,    sir,       how       he's       standing?
      19                         MR.       COHEN:           Objection             to    the
      20             form.
      21             Q.    Is    Mr.       Shin       in    this       video
      22      leaning       up       against          the       wall?        And       if
      23      you    want       me    to    rewind          that,       I    can       do
      24      that.
      25                   Just       rewinded             24    seconds          into
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 75 of 114 PageID #: 787


                                                                                 Page 74
       1                                     J.    KIM
       2      the    video.           Can    you    tell       if    Mr.       Shin    is
       3      standing          up    against       the       wall       in    this
       4      video?
       5             A.    Yes.
       6             Q.    Would       it    be    fair       to    say       that    in
       7      the    one       minute       and    54    seconds          into       the
       8      video.           Mr.    Shin    is    still          leaning       up
       9      against          the    wall?
      10             A.    Looks       like       it.
      11             Q.    Okay.        And       this    is       now    two
      12      minutes          and    two    seconds          into       the    video,
      13      can    you       tell    me    what       you    see       in    this
      14      video       at    this    point?
      15                         MR.    COHEN:           Object          to    the
      16             form       of    the    question.
      17             A.    Chung       Lee    is    putting
      18      Mr.    Young       Lee    onto       the    wall       from       the
      19      opposite          side    of    Mr.       Shin       and    holding
      20      Young       Lee's       face,       right       side       of    face.
      21             Q.    Do    you    recall          what       was    going       on
      22      at    this       point,       what    was       being       said,
      23      what    was       being       discussed?
      24             A.    They       were    talking          and,       you    know,
      25      I    wasn't       really       concentrating                on    what
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 76 of 114 PageID #: 788


                                                                                       Page 75
       1                                        J.    KIM
       2      they      were     talking             about.
       3             Q.    And       is    Mr.       Shin    at    this       two
       4      minute       and       two    seconds          into       the       video,
       5      is   he     still       holding          up    his       middle
       6      finger?
       7             A.    Yes.
       8             Q.    And       at    two       minutes       and       13
       9      seconds,          at    this       point       Mr.       Shin       is
      10      still       holding          up    his       middle       finger,
      11      correct?
      12             A.    Yes.
      13             Q.    And       Mr.    Young          Lee,    what       is       he
      14      doing       in    this       video?
      15             A.    He's       doing          the    middle          finger,          he
      16      pulled       out       the    middle          finger.
      17             Q.    In    this       video,          is    it    fair       to       say
      18      that      you     at    that       point       try       to    push       his
      19      hand      down?
      20             A.    Yes.
      21             Q.    Mr.       Young       Lee's       hand?
      22             A.    Yes.
      23             Q.    And       at    that       point,       sir,       what          is
      24      going       on?        Wait       let    me    just       stop       it.
      25      At   two     minutes          and       16    seconds          into       the
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 77 of 114 PageID #: 789


                                                                                      Page 76
       1                                        J.    KIM
       2      video,       what       are       you       doing       at    this      point
       3      in    the    video?
       4                         MR.          COHEN:        Object          to    the
       5             form       of    the       question.
       6             A.    I'm       trying          to    push       him    away       from
       7      Mr.    Shin       at    that          point.
       8             Q.    All       right.
       9                   In    the          entire       time       that
      10      you're       --    you          and    Mr.    Young          Lee,
      11      Mr.    Chung       Lee,          and    Mr.       Shin       were
      12      standing          on    that          platform          and    Mr.      Shin
      13      had    his       middle          finger       up,       did    you      at
      14      any    time       try       to    put       Mr.    Shin's          hand
      15      down    to       try    to       control          the    situation            --
      16      in    attempt          to       control       the       situation?
      17                         MR.          COHEN:        Object          to    the
      18             form       of    the       question.
      19             A.    Yeah,          I    wasn't       really          focusing
      20      on    Young       Lee       at    that       point       and       as   you
      21      see,    I    didn't             recognize          Mr.       Shin's
      22      finger       up.
      23             Q.    You       testified             earlier          in    your      --
      24             A.    I    saw       the       video.
      25             Q.    You       testified             earlier          that
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 78 of 114 PageID #: 790


                                                                                    Page 77
       1                                     J.       KIM
       2      Mr.    Shin       did       raise       his    middle          finger,
       3      would       it    be    fair       to    say       during       this
       4      entire       incident          on       that       night       you
       5      observed          Mr.       Shin    put       up    his    finger?
       6             A.    Yes.
       7             Q.    And       at    that       time       you    observed
       8      him    put       up    his    middle          finger,          did    you
       9      do    anything          to    stop       it?
      10             A.    No.
      11             Q.    I'm       going       to    ask       you    to    pay    very
      12      close       attention          because             things       start
      13      moving       quickly,          okay.           So    we're       going
      14      to    start       at    two    minutes             and    15    seconds
      15      into    the       video       so    there's          eight       seconds
      16      left.        Okay?
      17             A.    Okay.
      18             Q.    Can       you    tell       from       this       video
      19      whether          Mr.    Shin       was    kicked          by
      20      Mr.    Young          Lee?
      21             A.    Yes.
      22             Q.    Okay.           You    can       see    it    in    the
      23      video?
      24             A.    Yes.
      25                            MR.    WEISSLER:              Counsel,          can
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 79 of 114 PageID #: 791


                                                                                       Page 78
       1                                        J.    KIM
       2             you    just          go    back       to    the    2    minutes
       3             and    15       --    to    the       00:2:20,          please?
       4                         MS.       NICOLAOU:              One       second,
       5             I'll       go    back       as       many    times          as    you
       6             want.
       7             Q.    Okay.           Two       minutes       and       17
       8      seconds       into          the    video.           At    this          point,
       9      sir,    is    it       fair       to    say       that    Mr.       Shin
      10      was    in    the       process          of    falling          down       the
      11      stairs?
      12             A.    Yes.
      13             Q.    Is    his       middle          finger       still          up    in
      14      this    video          clip?
      15             A.    Is    that          middle       finger?              It    seems
      16      unclear       to       me    but.
      17             Q.    As    he       falls       down       the    stairs,
      18      sir,    is    it       fair       to    say       that    his       arms
      19      are    out    stretched                in    front       of    him?
      20                         MR.       COHEN:           Object          to    the
      21             form       of    the       question.
      22             A.    Yes.
      23             Q.    Okay.
      24                         MS.       NICOLAOU:              Where          do    you
      25             want       to    go       again,       do    you       want       to
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 80 of 114 PageID #: 792


                                                                                       Page 79
       1                                        J.    KIM
       2             come       around          and       look       closer       or
       3             you    can       just       take       my       computer?
       4             Off    the       record.
       5                         (Whereupon,                a       discussion             was
       6             held       off       the    record.)
       7             Q.    Mr.       Kim,       now       that       I    figured          out
       8      how    to    move       the       bar       that       controls          the
       9      controls          of    the       video       away          from    the
      10      bottom       of    the       video,          we're          going       to    do
      11      this    again,          okay.
      12                   So    we       are    going          to       start    it       at
      13      two    minutes          and       14    seconds             into    the
      14      video,       okay,          with       nine       seconds          left.
      15      Ready?
      16             A.    Yes.
      17             Q.    Take       a    very       close          look       and    hit
      18      the    space       bar       when       you're             ready.
      19             A.    Okay.
      20             Q.    Okay.           Now       that       I    moved       the
      21      control       bar       from       the       bottom          of    the
      22      screen       to    the       top       of    the       screen,          can
      23      you,    in    this          video,          see       Mr.    Young       Lee
      24      kick    Mr.       Shin?
      25             A.    Yes.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 81 of 114 PageID #: 793


                                                                                        Page 80
       1                                      J.       KIM
       2             Q.     And    it       was    because             Mr.    Young       Lee
       3      kicked        Mr.    Shin       that          Mr.       Shin    fell       down
       4      the    stairs;           is    that          correct?
       5                          MR.       WEISSLER:                 Just    note       my
       6             objection.
       7             Q.     All    right.              I    have       no    further
       8      questions           for       now.
       9    EXAMINATION
      10    BY   MR.      WEISSLER:
      11             Q.     Good       afternoon,                Mr.    Kim.        My
      12      name     is    Steven          Weissler.                 I'm    an
      13      attorney           with       the    law          office       of    Longo
      14      D'Apice,           and    we    are          the    attorneys             for
      15      the    Defendant,              Young          K.    Lee.
      16                    I'm    going          to       be    asking       you       some
      17      questions           about       the          incident          at    the
      18      karaoke        club.           If    you          don't       understand
      19      any    of     my    questions,                please          tell    me    and
      20      I'll     be    glad       to    rephrase                the    question.
      21      And    if     I'm    not       speaking             loud       enough,
      22      please        tell       me    and       I'll       be    glad       to
      23      repeat        the    question                or    we    can    have       the
      24      young       lady,        Ms.    Reporter,                repeat       the
      25      question.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 82 of 114 PageID #: 794


                                                                                 Page 81
       1                                        J.    KIM
       2                   Do    you       understand          everything          I
       3      said    so       far?
       4             A.    Yes.
       5             Q.    What       is    your       date    of    birth?
       6             A.    XX-XX-1980.
       7             Q.    Where       were          you    born?
       8             A.    South       Korea.
       9             Q.    When       did       you    first       come    to    the
      10      United       States?
      11             A.    1994,       1993.           It    has    to    be    exact
      12      date    and       year?
      13             Q.    Approximately.
      14             A.    Probably             somewhere          around       there.
      15             Q.    Are    you       a    United       States       citizen?
      16             A.    Yes.
      17             Q.    And    when          did    you    become       a
      18      citizen?
      19             A.    December             of    2017.
      20             Q.    And    when          for    the    first       time    did
      21      you    learn       that       the       individual          in    that
      22      video       with    the       green          shirt    had    the    name
      23      Young       K.    Lee?
      24             A.    I    don't       recall.
      25             Q.    Was    it       some       time    after       --
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 83 of 114 PageID #: 795


                                                                                       Page 82
       1                                        J.    KIM
       2             A.    After          the    incident,                definitely.
       3             Q.    I    believe          you       mentioned             earlier
       4      --    and    I'm       not       going       to    try       to    repeat
       5      what's       been          said    earlier          --       that    for
       6      approximately                an    hour       and       a    half    you
       7      remained          in       the    room       with       Chung       Lee    and
       8      the    CPA       Park;       is    that       right?
       9             A.    Yes.
      10             Q.    Okay.           And       then       when       you    went       to
      11      the    second          room       at    approximately                --
      12      what    time       was       that?
      13             A.    Probably             one    --       1:00       a.m.
      14             Q.    And       I    believe          you    said          that    was
      15      for    the       purpose          to    tell       Mr.       Shin    that
      16      you    wanted          to    leave;          is    that       right?
      17             A.    Yes.
      18             Q.    Okay.           And       when       you       want    to    that
      19      room,       did    you       see       Mr.    Shin          sitting       at    a
      20      table?
      21                         MS.       BERKOWITZ:                 Objection          to
      22             the       form.
      23             A.    Couch.
      24             Q.    He    was       sitting          on    a       couch?
      25             A.    Yes.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 84 of 114 PageID #: 796


                                                                                   Page 83
       1                                        J.    KIM
       2             Q.    And       on    that       same       couch    was      the
       3      person       who       you       later       came    to    be   known
       4      as    Young       K.    Lee?
       5             A.    Not       the       same       couch.
       6             Q.    Okay.           Was       Mr.    Young       Lee   on
       7      another          couch?
       8             A.    Another             couch.
       9             Q.    Okay.           I    believe          you    mentioned
      10      there       was    a    third          man    there;       is   that
      11      right?
      12             A.    Yes.
      13             Q.    Did       you       ever       come    to    learn      the
      14      identity          of    the       third       person?
      15             A.    No.
      16             Q.    Was       that       third       person       on   the
      17      same    couch          with       Mr.       Shin?
      18             A.    No.
      19             Q.    Was       that       third       person       on   the
      20      same    couch          with       Young       Lee?
      21             A.    I    think          so,    I    don't       clearly
      22      recall       whether             they       sit    together       or
      23      not.
      24             Q.    And       in    looking          at    that    video,
      25      did    you       see    the       --    that       third    man      in
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 85 of 114 PageID #: 797


                                                                                    Page 84
       1                                        J.    KIM
       2      any    portion          of    the       video?
       3             A.    "Third          man"       means?
       4             Q.    The       one    whose       name       you    didn't
       5      know    when          you    went       into    the    room?
       6             A.    I    believe          so,    yes.
       7             Q.    Okay.           Was       that    the    individual
       8      who    was       at    the    beginning          of    the       video
       9      that    you       were       just       shown?
      10             A.    Yeah.
      11             Q.    Okay.           When       you    went    to       get
      12      Mr.    Shin       in    the       second       room,       how       long
      13      did    you       remain       in       that    room?
      14                            MR.    COHEN:           Object       to    the
      15             form       of    the       question.
      16             A.    Me?
      17             Q.    Yeah.           When       you    went    to       go    get
      18      him    and       tell       him    you    wanted       to       leave,
      19      how    long       did       you    remain       in    the       room
      20      before       you       started          assisting          Mr.       Shin
      21      out    of    the       room?
      22             A.    10       seconds.
      23             Q.    At       approximately             what       time       were
      24      you    on    the       landing          with    Mr.    Shin          when
      25      he    was    giving          the       finger    to    Young          Lee?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 86 of 114 PageID #: 798


                                                                                       Page 85
       1                                        J.       KIM
       2             A.    Time?
       3             Q.    Yes.
       4             A.    Probably             around          one       --    between
       5      one    or    1:30.
       6             Q.    I    believe          you       mentioned             earlier
       7      and    correct          me    if       I'm       wrong,          you    went
       8      into    that       second          room          at    about       1:00
       9      a.m.;       is    that       right?
      10             A.    Yes.
      11             Q.    Can       you    tell          me    anything             that
      12      you    did       between          1:00       a.m.          and    1:30
      13      a.m.?
      14             A.    I    take       Mr.       Shin       out       from       the
      15      room    and       then       we    walked             through          the
      16      hallway          where       we    got       into          the    incident
      17      and    we    were       on    the          platform          right       in
      18      front       of    the    stairway                and       they    were
      19      talking          and    the       incident             happened.
      20             Q.    So    they       were          talking          on    the
      21      landing          for    about          a    half       an    hour?
      22             A.    I    said       between             --    I    don't       recall
      23      exactly          the    time.
      24             Q.    I    believe          you       mentioned             earlier
      25      that    there          are    at       present             five
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 87 of 114 PageID #: 799


                                                                                   Page 86
       1                                       J.    KIM
       2      employees         of       the    bank;          is    that       right?
       3                        MR.       COHEN:              Object       to    the
       4             form      of    the       question.
       5             Q.   How       many       employees             are    there       for
       6      the    NOA(sic)            bank?
       7                        MR.       COHEN:              Noah    Bank.
       8             A.   Our       bank?
       9             Q.   Yes.
      10             A.   Which          place       are       you    talking
      11      about?
      12             Q.   On    the       day       before          the    incident,
      13      that    would         be    Friday,             April       21st,    were
      14      you    with      Mr.       Shin       that       day?
      15             A.   Yes.
      16             Q.   Okay.           And       he    was       the    Chief
      17      Executive         Officer             of    the       Noah    Bank       at
      18      that    time?
      19             A.   Yes.
      20             Q.   And       you    were          at    a    particular
      21      location         in    Fort       Lee,          New    Jersey;       is
      22      that    right?
      23             A.   Yes.           Wasn't          Fort       Lee,    it    was
      24      Palisade         Park,       I    believe,
      25      Bergen      Boulevard.
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 88 of 114 PageID #: 800


                                                                                       Page 87
       1                                        J.    KIM
       2             Q.    Okay.           Is    that       where          the
       3      Noah    Bank       is?
       4             A.    No,       our       office       in       Fort    Lee,          I
       5      thought       we       were       talking          about       the
       6      restaurant             we    had       dinner.
       7             Q.    Let's          go    back       to    the       office.
       8             A.    Yes.
       9             Q.    Is    that          the    office          of    Noah       Bank?
      10             A.    Yes.
      11             Q.    Is    that          where       you       went    to       work
      12      every       day?
      13             A.    Yes.
      14             Q.    Who       else       worked          at    that
      15      particular             bank       as    of    April          21st,       2017?
      16                         MR.       COHEN:           Object          to       the
      17             form       of    the       question.
      18             A.    Who       else       working          at    Noah          Bank?
      19             Q.    Yes,       how       many       employees             were
      20      there?
      21             A.    40    or       45.
      22             Q.    Okay.           Do    you       remember          telling
      23      us   earlier           that       there       were       five          people
      24      at   the     bank;          is    that       something             I    heard
      25      wrong?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 89 of 114 PageID #: 801


                                                                                 Page 88
       1                                     J.       KIM
       2             A.    No,    I    didn't          mention       about       five
       3      people.        We       had    a    dinner       at    New    Jersey
       4      and    myself       and       Mr.       Shin    and    some       other
       5      employees          were       together          to    have    a
       6      dinner.
       7             Q.    Who    were       the       three       others       that
       8      had    the    dinner,          and       that    was    the       dinner
       9      in    Palisade          Park?
      10             A.    Yes.
      11             Q.    Who    would          be    the    other    three?
      12             A.    You    mean       their          names?
      13             Q.    Yes.
      14             A.    Dong       Pil    Joo,       D-O-N-G,       P-I-L,
      15      J-O-O,       and    Young          Hoon,       Y-O-U-N-G,
      16      H-O-O-N,       and       Gim,       G-I-M,       and    Eric       Shin,
      17      E-R-I-C,       S-H-I-N.
      18             Q.    And    were       they       all    employees          of
      19      the    branch       in    Fort          Lee?
      20             A.    Noah       Bank,       yes.
      21             Q.    What       time       did    you    arrive       at    that
      22      restaurant?
      23             A.    Around       seven,          7:30.
      24             Q.    And    how       long       did    you    remain       at
      25      that    restaurant?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 90 of 114 PageID #: 802


                                                                                          Page 89
       1                                           J.    KIM
       2                A.    A       couple       of    hours.
       3                Q.    The       bill       that       you've          been    shown
       4      for       $1,500          hundred          dollars             (pointing)
       5      --
       6                               MS.    NICOLAOU:                 Not    that       one,
       7                you're          pointing             to       the    wrong    one.
       8                               MS.    BERKOWITZ:                (Handing.)
       9                               MS.    NICOLAOU:                 Exhibit       C
      10                marked          on    February                1st,    2019.
      11                               MR.    WEISSLER:                 Okay.        Can    I
      12                see       the       other       one,          please?
      13                               MS.    NICOLAOU:                 Which       bill
      14                are       you       looking          for?
      15                               MR.    WEISSLER:                 Off    the
      16                record.
      17                               (Whereupon,                a    discussion          was
      18                held          off    the    record.)
      19                Q.    For       purposes             of       the    record,       I'm
      20      going          to       show    you       what's          been
      21      previously                marked          as    Defendant's
      22      Exhibit             C    from    February                1st,    2019,       and
      23      it    appears             to    be    at       the       bottom       circled
      24      $1,500          cash,          okay.           Do       you    know    if    this
      25      is    a    bill          from    the       room          where    you
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 91 of 114 PageID #: 803


                                                                                             Page 90
       1                                              J.    KIM
       2      stayed          with          CPA       Park       and    Chung          Lee?
       3                               MR.       COHEN:              Objection          to    the
       4             form.
       5             A.       I       never       seen          these    invoices
       6      before          so       I    don't          know.
       7             Q.       Okay.              Now,       I'm       going       to    show
       8      you    what's                been       previously             marked          as
       9      Exhibit             B    from       February             1st,       2019,       and
      10      it    appears                to    have       a    dollar       amount          of
      11      $500,          do       you       know       which       room       this       bill
      12      was    for          or       if    it's       the       bill    for       the
      13      room       in       which          you       and       Chung    Lee       and
      14      CPA    Park             were       --    stayed          for    that       hour
      15      and    a       half?
      16             A.       I       don't       know,          this    was       the       first
      17      time       I    seen          it.
      18                               MS.       BERKOWITZ:              Do       you    know
      19             who          paid          either          of    those       bills?
      20                               THE       WITNESS:              No.
      21             Q.       During             that       hour       and    a    half       that
      22      you    --       that          Mr.       Shin       went    to       the    other
      23      room,          were          there       any       women       in    the       room
      24      where          you       were       with          Mr.    Chung       Lee       and
      25      CPA    Park?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 92 of 114 PageID #: 804


                                                                              Page 91
       1                                     J.    KIM
       2             A.    Yes.
       3             Q.    Okay.           And    what    were    the    women
       4      doing?
       5             A.    Service          --    servicing.
       6             Q.    Okay.           Were    they    giving       any
       7      massages?
       8             A.    No.
       9             Q.    Were       they       giving    any    lap    dances?
      10             A.    No.
      11             Q.    Okay.           When    you    went    into    the
      12      second       room       to    get    Mr.    Shin    to    tell    him
      13      you    wanted          to    leave,    were       there    any
      14      women       in       that    room?
      15             A.    I       think    one    lady    was    there.
      16             Q.    Did       you    see    that    lady    giving
      17      anybody          a    massage?
      18             A.    No.
      19             Q.    Did       you    see    that    lady    giving
      20      anybody          a    lap    dance?
      21             A.    No.
      22             Q.    Okay.           Was    there    an    elevator       in
      23      the    building?
      24             A.    I       don't    know.
      25             Q.    And       as    you    were    standing       at    the
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 93 of 114 PageID #: 805


                                                                              Page 92
       1                                     J.    KIM
       2      landing          before       Mr.    Shin       fell    down    the
       3      stairway,          how       would       you    describe       the
       4      artificial             lighting          on    the   landing?
       5             A.    Light?
       6             Q.    The       lights       --    artificial
       7      lighting?
       8             A.    Light       like       that?
       9             Q.    Yes,       any    sort       of    lights?        Was    it
      10      dark,       light,       good       lighting,          any    way    you
      11      wish    to       describe       it?
      12             A.    It    was       dark.
      13             Q.    Was       there    artificial             lighting?
      14             A.    Yes.
      15             Q.    Where       were       the       lights    located?
      16             A.    Ceiling          and    the       side.
      17             Q.    And       from    looking          at   that     video,
      18      did    you       have    any    problem          seeing       what
      19      was    on    the       video?
      20             A.    No.
      21             Q.    Did       the    video       appear       dark    to    you
      22      or    light       to    you    or    something          else?
      23                         MR.       COHEN:           Object    to    the
      24             form       of    the    question.
      25             A.    I    don't       see    any       issue    to    figure
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 94 of 114 PageID #: 806


                                                                                       Page 93
       1                                     J.    KIM
       2      out    what's       happening             from          the       video.
       3             Q.    And    were       there          any       handrails             on
       4      the    stairway?
       5             A.    I    don't    recall             that.
       6             Q.    The    person          who       you       identified                as
       7      Young       K.    Lee,    did       you       ever       see       Young          K.
       8      Lee    prior       to    the    incident                at    the
       9      karaoke          club?
      10             A.    No.
      11             Q.    Did    anyone          introduce                you    to
      12      Mr.    Young       K.    Lee    at       any       time       from       the
      13      time    that       you    arrived             at    the       karaoke
      14      club    until       the    time          of    the       incident?
      15             A.    No.
      16             Q.    Do    you    know       what          type       of    work
      17      Young       K.    Lee    does       or    was       doing          as    of
      18      April       22nd,       2017?
      19             A.    I    heard    his       business                --    he's       a
      20      deli    business          owner.
      21             Q.    Did    Young       K.       Lee       do    any       business
      22      with    the       Noah    Bank?
      23             A.    No.
      24             Q.    Who    was    it       that       brought             Mr.    Shin
      25      into    that       second       room?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 95 of 114 PageID #: 807


                                                                                 Page 94
       1                                     J.    KIM
       2             A.    CPA       Park.
       3             Q.    Did       CPA    Park       ever    tell       you    that
       4      he    brought          Mr.    Shin       into    the    next       room
       5      to    meet       Mr.    Young       K.    Lee?
       6             A.    No.
       7             Q.    At    any       time    prior       to    the    night
       8      of    the    incident          until       coming       here
       9      today,       did       anyone       ever    tell       you    that
      10      CPA    Park       brought          Mr.    Shin    into       the
      11      second       room       to    meet       Young    K.    Lee?
      12             A.    No.
      13             Q.    I    have       nothing       further.
      14                   Thank       you.
      15    EXAMINATION
      16    BY     MS.    BERKOWITZ:
      17             Q.    You       testified          that    you       believe
      18      these       people       that       you    saw    were
      19      employees          of    the       karaoke       bar?
      20             A.    Yes.
      21             Q.    What       is    the    basis       for    that
      22      belief;          like,       why    do    you    think       they
      23      were       employees?
      24             A.    That's          what    we    call       the    "room
      25      salon       business,"             they    provide          drinks
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 96 of 114 PageID #: 808


                                                                                          Page 95
       1                                           J.    KIM
       2      usually       those             type       of       business          where
       3      the    lady       do       the       service             for(sic)       --
       4             Q.    How       do       you       know       they       weren't
       5      just    other          customers?
       6             A.    That          place          --    I    don't       know
       7      actually.              I       had    service             lady    in    my
       8      room,       too,       so.
       9             Q.    I'm       just          asking          you,       how    do    you
      10      know    that       they             weren't          just       other
      11      customers?
      12             A.    How       do       I    know?
      13             Q.    Yeah,             rather          than       employees?
      14             A.    There             shouldn't             be    a    lady
      15      customer.
      16             Q.    There             was    not       a    lady       customer?
      17             A.    It's          a    room       salon          for    men.
      18             Q.    So    the          ladies          --       the    females
      19      that    you       believe             were          employees,          they
      20      just    bring          in       the       bottles          and    put       them
      21      on    the    table?
      22             A.    They          just       walk          in    the    waiter
      23      brings       the       drink          into          the    room.
      24             Q.    What          dose       the       female          do;    they
      25      just    walk?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 97 of 114 PageID #: 809


                                                                                          Page 96
       1                                        J.    KIM
       2                         MR.       COHEN:              Object          to    form.
       3             A.    They       just       walk          in    by       themselves
       4      with    some       owner          or    whatever.
       5                         MS.       NICOLAOU:                 Like       what?
       6             Q.    The    owner?
       7             A.    Like       head       of       lady,          I    don't
       8      know(sic).              I    don't          know       how       to    call
       9      but    --    like       director,                let's          say,
      10      whoever       controlled                the       ladies          within
      11      the    business,             I    believe.                 I    don't       know,
      12      they    walked          in.
      13             Q.    And    did          what?
      14             A.    And    sitting             next          to       where    we
      15      were    sitting.
      16             Q.    They       were       just          sitting          there?
      17             A.    Yeah,          they       were       sitting             and    then
      18      they    do    assistant                --    assist             for    us    to
      19      drink,       so    they          pour       the       drinks          into    the
      20      cup,    and,       you       know,          service             for    the
      21      food;       just    like          assist,             support,
      22      service.
      23             Q.    Okay.           So    how       do       you       know
      24      that    --    do    you          know       --    so       they       were    in
      25      your    room       --       they       were       in       your       room?
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 98 of 114 PageID #: 810


                                                                                   Page 97
       1                                     J.       KIM
       2             A.    Yes,       mhmm.
       3             Q.    Did       you    see       any    females          in   the
       4      Young       Lee    room?
       5             A.    There       was       one    lady       in    that      room
       6      when    I    got       into    that       room,          yes.
       7             Q.    This       is    very       --    don't       guess       at
       8      anything,          I    want       to    know       if    you    saw
       9      that    female          pour       any    drinks          for
      10      Young       Lee?
      11             A.    Not       pour    any       drinks          she    just    was
      12      sitting       there.
      13             Q.    Okay.           Did    you       see    the       female
      14      pour    a    drink       for       Young       Lee?
      15             A.    No.
      16             Q.    Okay.           Thank       you.
      17                         MS.       NICOLAOU:              I'm    done.
      18                  (Time       noted:           12:52           p.m.)
      19
      20
      21
      22
      23
      24
      25
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 99 of 114 PageID #: 811


                                                                                           Page 98
       1
       2                            INSTRUCTIONS             TO    WITNESS

       3
       4                      Please          read    your       deposition          over

       5    carefully          and       make    any    necessary             corrections.

       6    You    should          state       the    reason       in    the    appropriate

       7    space       on    the       errata       sheet       for    any    corrections

       8    that       are    made.

       9                      After       doing       so,    please       sign       the

      10    errata       sheet          and    date    it.

      11                      You       are    signing       same       subject       to    the

      12    changes          you    have       noted    on       the    errata       sheet,

      13    which       will       be    attached       to       your    deposition.

      14                      It    is    imperative             that    you    return       the

      15    original          errata          sheet    to    the       deposing       attorney

      16    within       thirty          (30)    days       of    receipt       of    the

      17    deposition             transcript          by    you.        If    you    fail    to

      18    do    so,    the       deposition          transcript             may    be    deemed

      19    to    be    accurate          and    may    be       used    in    court.

      20
      21
      22
      23
      24
      25
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 100 of 114 PageID #: 812


                                                                                Page 99
        1
        2                               -       -       -       -       -   -
                                            E       R   R   A       T   A
        3                               -       -       -       -       -   -
        4    PAGE      LINE      CHANGE
        5    ____      ____      ____________________________
        6    ____      ____      ____________________________
        7    ____      ____      ____________________________
        8    ____      ____      ____________________________
        9    ____      ____      ____________________________
      10     ____      ____      ____________________________
      11     ____      ____      ____________________________
      12     ____      ____      ____________________________
      13     ____      ____      ____________________________
      14     ____      ____      ____________________________
      15     ____      ____      ____________________________
      16     ____      ____      ____________________________
      17     ____      ____      ____________________________
      18     ____      ____      ____________________________
      19     ____      ____      ____________________________
      20     ____      ____      ____________________________
      21     ____      ____      ____________________________
      22     ____      ____      ____________________________
      23     ____      ____      ____________________________
      24     ____      ____      ____________________________
      25     ____      ____      ____________________________
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 101 of 114 PageID #: 813


                                                                                                               Page 100
        1
        2                     A    C    K       N    O    W    L    E    D    G    E    M    E    N       T

        3   STATE       OF    NEW       YORK)

        4                                                     :SS

        5   COUNTY       OF       _________)

        6         I,    JOHN       KIM,             hereby          certify             that          I       have

        7   read       the    transcript                      of    my       testimony                taken

        8   under       oath       on       May          21,       2019,          that       the

        9   transcript             is       a       true,          complete             and       correct

      10    record       of       what          was       asked,             answered             and          said

      11    during       my       testimony                   under          oath,          and       that       the

      12    answers          on    the          record             as    given          by       me       are    true

      13    and    correct,             except                for       the       corrections                   or

      14    changes          in    form             or    substance,                   if    any,             noted    in

      15    the    attached             Errata                Sheet.

      16
      17    ____________________________

      18    JOHN       KIM

      19
      20    Signed       and       subscribed                      to

      21    before       me,       this             _____          day

      22    of    ____________,                      _______.

      23
      24    _________________________

      25    Notary       Public
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 102 of 114 PageID #: 814


                                                                                                                                        Page 101
        1
        2             I       N       D       E       X         O       F       W       I       T       N       E       S       S       E       S
        3   WITNESS:                      JOHN                KIM
        4   EXAMINATION                       BY                                                                                    PAGE
        5   MS.    BERKOWITZ                                                                                                        6
            MS.    NICOLAOU                                                                                                         41
        6   MR.    WEISSLER                                                                                                         80
            MS.    BERKOWITZ                                                                                                        94
        7
                          I       N       D       E       X         O       F       E       X       H       I       B       I       T       S
        8
            EXHIBIT                                            DESCRIPTION                                                              PAGE
        9
      10       (Whereupon                         no          exhibits              were                marked                      at          this
                                                              present           time.)
      11
      12
      13
      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24
      25
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 103 of 114 PageID #: 815


                                                                                                              Page 102
        1
        2                               C    E    R    T    I    F    I       C    A    T       E

        3         I,       CHRISTA          M.    MILOSCIA,                   a    shorthand

        4   reporter             and    Notary             Public             within                and       for       the

        5   State          of    New    York,          do       hereby             certify:

        6         That          the    Witness(es)                   whose             testimony                   is

        7   hereinbefore                set       forth          was          duly          sworn             by    me,

        8   and       the       foregoing             transcript                   is       a       true       record

        9   of    the       testimony             given          by       such          Witness(es).

      10          I    further          certify             that          I       am    not          related             to

      11    any       of    the       parties          to       this          action                by    blood          or

      12    marriage,             and       that       I    am       in       no       way          interested

      13    in    the       outcome          of       this       matter.

      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24                                         Christa             M.       Miloscia,                   a    Court

                                                 Reporter             and          Notary                Public

      25                                         Date:
Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 104 of 114 PageID #: 816


                                                                         Page 103
        1
        2                            LAWYER'S      NOTES
            PAGE/LINE        NOTE
        3   _________        __________________________________
            _________        __________________________________
        4   _________        __________________________________
            _________        __________________________________
        5   _________        __________________________________
            _________        __________________________________
        6   _________        __________________________________
            _________        __________________________________
        7   _________        __________________________________
            _________        __________________________________
        8   _________        __________________________________
            _________        __________________________________
        9   _________        __________________________________
            _________        __________________________________
      10    _________        __________________________________
            _________        __________________________________
      11    _________        __________________________________
            _________        __________________________________
      12    _________        __________________________________
            _________        __________________________________
      13    _________        __________________________________
            _________        __________________________________
      14    _________        __________________________________
            _________        __________________________________
      15    _________        __________________________________
            _________        __________________________________
      16    _________        __________________________________
            _________        __________________________________
      17    _________        __________________________________
            _________        __________________________________
      18    _________        __________________________________
            _________        __________________________________
      19    _________        __________________________________
            _________        __________________________________
      20    _________        __________________________________
            _________        __________________________________
      21    _________        __________________________________
            _________        __________________________________
      22    _________        __________________________________
            _________        __________________________________
      23    _________        __________________________________
            _________        __________________________________
      24    _________        __________________________________
            _________        __________________________________
      25
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 105 of 114 PageID #: 817
                                                                                                   Page 1

         A              98:6                 awake 55:13,14         14:25 24:10 26:6    building 52:3 72:14
above-entitled 1:19   approximately          a.m 1:15 82:13 85:9    37:25 38:12 49:14    91:23
absence 37:15           57:22 81:13 82:6       85:12,13             59:25 82:3,14       bump 35:17
  38:11                 82:11 84:23                                 83:9 84:6 85:6,24   bunch 12:23
                      April 6:23 86:13                 B            86:24 94:17 95:19   business 9:24 10:8
absence(sic) 51:24
absent 37:16            87:15 93:18          b 3:8 46:17 90:9       96:11                18:6 20:6 23:13
accident 41:15 66:9   arguing 21:9 25:12       101:7              Bergen 86:25           34:14 37:7 39:19
accompanied 4:14        26:23 55:21          back 16:7 21:8 23:4 Berkowitz 1:19 2:9      93:19,20,21 94:25
accurate 61:22        arm 58:12 67:7           24:2,4 36:22 37:2    6:7,12 19:9 25:2     95:2 96:11
  98:19                 68:14                  37:3,20,23,24        41:2,6 46:14
                      arms 78:18               38:20 45:13 51:19    82:21 89:8 90:18              C
acting 29:8,12,14
action 1:19 5:10      arrive 10:22 88:21       54:17 56:16,17       94:16 101:5,6       c 2:2 3:8 35:21 89:9
  41:12 102:11        arrived 11:2 12:14       67:10,14 78:2,5    big 37:14               89:22 100:2 102:2
afternoon 80:11         33:24 34:4 43:6        87:7               bill 36:5,19 46:19      102:2
aggressive 27:2         62:22 63:4 93:13     balance 59:17          50:18,22,25 51:9    call 6:13 9:13,16
agitated 24:7         arriving 63:15         bank 7:5,18 10:3       51:11,11 89:3,13      10:11 33:23,25
ago 31:23 64:15,17    Article 3:15             17:5,6,15 37:9,10    89:25 90:11,12        94:24 96:8
agree 42:13           artificial 92:4,6,13     37:13 38:4,13,14 bills 90:19             called 11:4 33:15
agreed 3:3 44:3       asked 24:17 25:16        38:17 39:11,23     birth 81:5              33:17,19
  62:24                 33:25 40:20 41:18      40:18 60:21,25     bit 32:20 59:16,17    calm 55:22
AHMUTY 2:6              42:19 52:20 70:10      86:2,6,7,8,17 87:3   68:22               camera 65:24
alcohol 8:9 13:10       100:10                 87:9,15,18,24      black 13:16,18        camera's 73:9,11
  13:20 21:13 24:21   asking 8:17 30:17        88:20 93:22          65:14               capturing 64:12
  25:5 61:9,13          34:8 35:15 42:5      banker 17:2          blazer 65:15          car 15:20,22,23
amount 90:10            57:11 80:16 95:9     Bank's 17:7          block 29:10 31:15       44:6
and/or 3:8            asleep 56:9            bar 5:8 11:4,10,19     32:19               care 50:11,19,21,25
angry 24:6 27:8       Asset 7:22               11:25 12:7,9,24    blood 102:11            51:8
answer 3:11,18 4:4    assist 59:2 96:18,21     33:17 44:8 62:23 body 32:25              carefully 98:5
  4:12,13,14,16       assistant 96:18          66:16 79:8,18,21 bored 51:20             Carmen 2:13 41:11
  42:2 58:24 69:20    assisted 12:5 62:14      94:19              born 81:7             cash 89:24
  69:22,22            assisting 84:20        base 23:23           boss 60:7             casual 10:6 28:20
answered 4:9,25       associate 9:25 18:6    based 59:19          bottle 13:21,22,23    cause 4:9
  100:10              assume 42:3            basically 30:3         14:10 19:4 21:13    caused 39:8
answering 41:19       attached 98:13           72:21              bottles 14:11 24:23   Ceiling 92:16
answers 100:12          100:15               Basil 2:3 43:15        55:21 95:20         CEO 11:4 38:21
anybody 12:11         attempt 76:16          basis 3:22 4:15      bottom 79:10,21       certification 5:20
  14:14 28:13 32:6    attendance 3:25          94:21                89:23               certify 100:6 102:5
  39:11 54:25 56:5    attention 59:11        bathroom 51:20       Boulevard 86:25         102:10
  91:17,20              72:9 77:12             52:10              branch 88:19          chair 54:24
appear 23:20 92:21    attorney 3:20 4:11     beer 15:4            bring 95:20           Chairman 38:12
appears 67:9 89:23      4:20 5:16,23 6:12    beginning 84:8       brings 95:23          chance 24:15
  90:10                 6:20 43:3 80:13      behalf 5:16          Broadway 1:13 2:4     CHANGE 99:4
apply 3:14              98:15                behavior 29:7,16     Brooklyn 2:17         changes 98:12
approaching 60:22     attorneys 2:3,7,11       30:13              brought 15:20 44:6      100:14
appropriate 3:14        2:15 3:4 40:4        belief 94:22           44:11 93:24 94:4    charge 5:25
                        80:14                believe 7:16 9:12      94:10               CHARTWELL
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 106 of 114 PageID #: 818
                                                                                                  Page 2

  2:10,23               68:24 69:11 73:19     58:23,23 72:10      dark 92:10,12,21     determining 4:24
check 20:25             74:15 76:4,17       copy 5:25             date 81:5,12 98:10   did(sic) 31:15
chest 67:7              78:20 84:14 86:3    correct 39:24 42:8     102:25              difference 38:24
Chief 8:6 37:12         86:7 87:16 90:3       42:20 43:5 44:5     dated 46:17          different 47:24
  38:6,18 39:20         92:23 96:2            52:17 60:7,14       DAVID 2:5              52:6
  86:16               come 14:3 36:22         71:14 72:18 75:11   davidacohen@rj...    dinner 7:8,9,11 8:7
Chin 29:22              79:2 81:9 83:13       80:4 85:7 100:9      2:5                   8:21 9:5 15:15
Christa 1:21 102:3    comes 21:8              100:13              day 86:12,14 87:12     20:8 43:25 44:2
  102:24              coming 40:13 42:23    corrections 98:5,7     100:21                61:17 87:6 88:3,6
Chung 9:21,22,23        57:19 94:8            100:13              days 98:16             88:8,8
  11:13 12:25 13:3    commenced 6:15        correctly 45:11       DEBORAH 1:9          direct 4:11
  19:22,23,25 20:9      41:13               couch 24:4 54:14      December 81:19       direction 4:14
  26:10,22 29:9,22    comments 4:2            54:24 55:8 56:2,5   decision 60:19         12:16
  31:12,18,21,24      communicating           57:4 58:10 62:15    decisions 37:14      director 96:9
  32:5 33:9 34:23       4:21                  82:23,24 83:2,5,7    38:17               disagreement 31:7
  44:16,17,22 46:7    communication           83:8,17,20          deemed 5:17 98:18      31:9 70:21
  46:21 48:4 50:7       4:23 5:3 17:3       counsel 5:24 41:21    defect 3:21          discuss 40:13,15
  53:5,10,13,16,22    community 37:10         42:19 77:25         Defendant 1:11 2:7   discussed 70:7
  54:5,10 62:16,19    company 20:8          COUNTY 100:5           2:15 6:13 80:15       74:23
  64:20 65:7 68:2       61:17               couple 7:7 14:24      Defendants 2:11      discussion 8:2 64:5
  68:18 69:9,13       compared 38:15          41:16 53:20 69:2    Defendant's 46:16      79:5 89:17
  70:2 71:10,22         39:2                  89:2                 89:21               displayed 14:7,9
  72:22,24 73:3       complete 4:18         course 3:24           definitely 47:16     DISTRICT 1:2,2
  74:17 76:11 82:7      100:9               court 1:2 2:16 4:8     82:2                documents 42:24
  90:2,13,24          compliance 3:5          98:19 102:24        DEH-JUNG 1:9         doing 29:14 30:6,19
cigarette 51:22       computer 79:3         Courts 3:6            delayed 37:19          31:12,19 32:21
  53:21               concentrating         CPA 11:13 12:4,25     deli 93:20             48:14 70:15 71:10
circled 47:10 48:20     32:18 74:25           13:3 16:6,21,25     DEMERS 2:6             75:14,15 76:2
  89:23               concern 72:11           17:4,5 19:10,18     Department 7:23        91:4 93:17 98:9
citizen 81:15,18      confidentiality 4:6     44:11,17,22 48:6    deponent 3:19 4:4    dollar 90:10
clear 3:20 4:15       consent 4:22            56:7,14,25 82:8      4:11,16,22          dollars 89:4
  27:23 43:19 55:25   consider 18:5           90:2,14,25 94:2,3   deposing 98:15       Dong 88:14
clearly 5:5 83:21     considered 43:21        94:10               deposition 3:9,11    door 26:9 52:4
clients 16:9,10,12      60:6 62:7           CPAs 17:3              3:12,17 4:5,19,21     66:13,14,20
  17:4,7 19:13        consistently 51:17    CPLR 3:15,23 4:12      36:12 40:14,16      dose 95:24
clip 78:14            consume 8:21          cup 96:20              42:25 43:4 98:4     downstairs 33:15
close 29:2,6 77:12      24:20               cursing 27:8           98:13,17,18         drank 22:4
  79:17               consumed 61:13        customer 95:15,16     describe 73:9,17     drink 8:16 14:14,23
closer 79:2           control 76:15,16      customers 95:5,11      92:3,11               15:7 18:20 21:15
closest 65:9            79:21               C.P.L.R 5:19          description 61:23      21:17 25:6 61:21
club 6:14,24 7:4      controlled 5:19                              101:8                 61:21 62:3 95:23
  80:18 93:9,14         96:10                        D            designated 15:9,18     96:19 97:14
cnicolaou@chart...    controlling 7:23      d 3:8 100:2 101:2,7    43:21,23 44:4       drinking 8:8,12,15
  2:14                controls 79:8,9       dance 91:20            62:8                  9:3 21:18 24:25
COHEN 2:5 47:6        conversation 19:16    dances 91:9           determined 15:12       25:5 48:16
  60:11 67:11 68:7      29:18,21,24 55:16   Daniel 22:23,24        15:13               drinks 18:25 48:17
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 107 of 114 PageID #: 819
                                                                                                  Page 3

 61:20 94:25 96:19  enter 54:9                       F           five 32:14 37:18        78:19 85:18
 97:9,11            entered 44:21         F 101:2,7 102:2          66:12 85:25 87:23   fruits 13:16 14:11
drive 10:11           46:22 54:8,12       face 35:13 66:6          88:2                fulfill 38:5
driver 10:15,17     Enterprises 1:8 2:7      71:13,24 74:20,20   floor 63:2,5          full 13:23,24 16:17
 15:9,11,18 43:21     6:13                fail 98:17             fluent 42:10,13         38:13
 43:23 44:4 62:8,8  entire 46:3 76:9      failure 5:6,14         Flushing 9:8,10,14    fully 41:18
driving 37:23,25      77:4                fair 55:23 57:6          9:19 10:11,23       further 80:7 94:13
drove 44:7          Eric 88:16               61:22 63:18 65:25     11:3 20:5             102:10
drunk 29:8,12,15    errata 98:7,10,12        74:6 75:17 77:3     fly 33:12
 59:8 60:2            98:15 100:15                               focus 6:22                      G
                                             78:9,18
duly 6:3 102:7      error 3:22            falling 78:10          focusing 59:12,13     G 100:2
duties 37:4 38:5,11 escort 25:23          falls 78:17              60:4 76:19          gathering 20:7
 38:13              escorting 62:20       familiar 63:10         follow 62:17          gentleman 6:19
duty 37:12          ESQ 2:5,9,13,17       far 81:3               followed 12:15          43:11 65:14,17
D'Apice 2:15 80:14  Eve 48:22,23,24       February 35:21           26:12 27:12,14        67:2
D-O-N-G 88:14       event 5:3                46:17 89:10,22        33:14 34:15         gentlemen 67:24
                    everybody 55:13          90:9                following 26:15,18    getting 29:6 38:25
          E           55:14,15                                     53:5,16             Gim 88:16
                                          feel 34:20 35:7,7,8
E 2:2,2 99:2 100:2  exact 7:12 47:15         42:12 59:8          follows 6:5           give 30:25 40:3,6,9
  100:2,2 101:2,2,2   81:11               feeling 39:12          follow-up 41:16         40:23 47:13
  101:7,7 102:2,2   exactly 18:23 19:2    feet 59:4,5,6          food 96:21            given 3:12 50:18
earlier 43:7 76:23    48:6 50:9 85:23     fell 32:16 33:5,8,12   footage 64:12           100:12 102:9
  76:25 82:3,5 85:6 examination 1:17         35:18 80:3 92:2     foregoing 102:8       giving 84:25 91:6,9
  85:24 87:23         3:24 5:8,12,15,16   fell(sic) 35:3         form 3:21 60:12         91:16,19
easily 39:2           5:21,25 6:6 41:8    female 95:24 97:9        67:12 68:7 69:12    glad 80:20,22
EASTERN 1:2           80:9 94:15 101:4       97:13                 73:20 74:16 76:5    glass 9:4 48:17
Edward 1:4 6:15     examined 5:13,24      females 95:18 97:3       76:18 78:21 82:22     66:14
  6:24                6:5                 female's 49:8            84:15 86:4 87:17    glasses 13:16 65:15
EESHA 2:23          examining 4:17        fighting 25:13           90:4 92:24 96:2     go 6:23 9:6,14,18
eight 77:15         excess 61:21 62:3     figure 92:25             100:14                11:3,20 12:13,18
either 90:19        exchange 32:10        figured 79:7           Fort 17:17 86:21,23     20:25 28:15,16
electronically 64:9 excuse 64:25          filing 5:20              87:4 88:19            30:23 32:10 35:9
elevator 11:20      Executive 8:6 37:8    finger 31:2 70:16      forth 4:7,25 37:23      37:20 46:2 52:2,5
  63:11,16 91:22      37:12 38:6,16,18       70:25 71:8 72:18      51:19 102:7           53:4 58:15,16
employed 7:17         39:20 86:17            75:6,10,15,16       forward 37:22           61:16 63:5,20
employee 33:16,18 Exhibit 35:21              76:13,22 77:2,5,8   for(sic) 95:3           78:2,5,25 84:17
  33:22 39:22 48:13   46:17 64:10 89:9       78:13,15 84:25      foundation 69:12        87:7
employees 7:7         89:22 90:9 101:8    finish 58:19           four 9:2 18:23,24     goal 72:13
  37:11 86:2,5      exhibits 101:10       fire 60:9,13,18          19:8 32:8,11        goes 65:24
  87:19 88:5,18     exit 26:11            first 6:3 14:22          37:18,24 66:11      going 6:22 9:9
  94:19,23 95:13,19 exited 52:6              44:15,16,21 45:12   framed 3:18             31:10 35:25 37:21
employee(sic)       explain 34:10            46:22 52:18 53:20   Friday 86:13            40:16 41:15,22
  39:21             explained 34:9           56:4,9,10,11        friend 9:23 18:5        46:15 60:3 64:7
enforce 4:7         extent 3:23              63:23 81:9,20       friendly 10:7 39:15     64:22 65:2,12
English 28:4 42:11 E-R-I-C 88:17             90:16                 39:18                 74:21 75:24 77:11
  42:14,15,21       E-V-E 49:4,5                                 front 26:17 29:19       77:13 79:10,12
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 108 of 114 PageID #: 820
                                                                                                    Page 4

  80:16 82:4 89:20      18:11 25:19 28:25   ii 4:6                   19:1 20:1 21:1        80:15 81:23 83:4
  90:7                  33:4 34:8 36:16     iii 4:8                  22:1 23:1 24:1        93:7,7,12,17,21
good 39:6,18 41:10      36:22 70:23 85:19   immediately 48:19        25:1 26:1 27:1        94:5,11 100:2
  41:20 80:11 92:10   happening 32:16       imperative 98:14         28:1 29:1 30:1      Kane 9:21 26:10
grab 58:10,12,16        33:7 39:9 51:23     important 37:13          31:1 32:1 33:1        29:9,23 31:22
  58:16 59:11           93:2                   42:4                  34:1 35:1 36:1        33:9 48:4 50:7
grabbing 68:6,11      happy 41:25           improper 4:9             37:1 38:1 39:1        53:5,16 65:8 68:2
grabs 67:16,17        head 7:22 96:7        incident 31:25           40:1 41:1 42:1      karaoke 6:14,24
green 65:15 67:2      hear 21:9 27:24          32:12 36:21,24        43:1 44:1 45:1        7:4 11:4,10,16,19
  81:22               heard 87:24 93:19        39:8,9 64:12 77:4     46:1 47:1 48:1        11:25 12:7,9,23
greet 11:25 12:8,11   heavier 57:18,20         80:17 82:2 85:16      49:1 50:1 51:1        33:17 44:8 62:22
greeted 12:3            58:5                   85:19 86:12 93:8      52:1 53:1 54:1        66:16 80:18 93:9
greeting 43:8,9       heavy 57:19              93:14 94:8            55:1 56:1 57:1        93:13 94:19
grounds 4:25          held 1:19 8:3 64:6    incident(sic) 39:3       58:1 59:1 60:1      kept 28:11
group 2:3 66:12         79:6 89:18          include 3:20             61:1 62:1 63:1      kick 35:4,5 79:24
guess 7:16 29:2       help 26:2 58:12       indicating 24:3,4        64:1 65:1 66:1      kicked 16:14 26:14
  37:23 97:7            59:9 60:3           individual 44:23         67:1 68:1 69:1        34:16,17,18,21
guy 16:14 20:18       helped 25:24 26:5,7      46:9,21 81:21         70:1 71:1 72:1        35:16 77:19 80:3
  23:8,10 26:14         57:3 58:9              84:7                  73:1 74:1 75:1      Kim 1:17 6:1,10,11
  27:17 29:8,12       helping 27:11,24      individuals 41:12        76:1 77:1 78:1        7:1 8:1 9:1 10:1
  48:5 49:23 50:8     hereinbefore 102:7    individuals(sic)         79:1 80:1 81:1        11:1 12:1 13:1
  55:4,5 57:7,12,13   hire 38:4 60:9           45:3                  82:1 83:1 84:1        14:1 15:1 16:1
  65:21               hit 65:2 79:17        instructions 40:23       85:1 86:1 87:1        17:1 18:1 19:1
guys 22:22            holding 67:9,14          98:2                  88:1 89:1 90:1        20:1 21:1 22:1
G-I-M 88:16             70:17 71:8,13       interested 102:12        91:1 92:1 93:1        23:1 24:1 25:1
                        72:17 74:19 75:5    interfere 4:2            94:1 95:1 96:1        26:1 27:1 28:1
         H              75:10               interrupt 4:20           97:1                  29:1 30:1 31:1
H 6:2 101:7           home 28:15,17            67:23               jacket 67:17 68:6       32:1 33:1 34:1
habits 61:23,25         30:23 31:10         intoxicated 23:20      Janice 2:9 6:11         35:1 36:1 37:1
half 16:4 18:12       Hoon 88:15               24:11 26:4 61:14    Janice.Berkowitz...     38:1 39:1 40:1
 20:23 21:16,25       hospital 36:14        introduce 16:10          2:9                   41:1,10 42:1 43:1
 22:5 23:5 46:4,6     hour 16:4 18:12          45:16 93:11         Jason 49:20,21          43:19 44:1 45:1
 51:18 52:12,16         20:23 21:16,25      invoice 35:20            50:8                  46:1 47:1 48:1
 53:25 56:22 82:6       22:4 23:5 46:4,6    invoices 90:5          Jersey 7:10 8:7         49:1 50:1 51:1
 85:21 90:15,21         51:17 52:12,16      invoices(sic) 50:10      10:19 15:16,21        52:1 53:1 54:1
hallway 25:21           53:25 56:22 82:6    involving 64:13          17:18 44:2 86:21      55:1 56:1 57:1,11
 26:11 28:2,3           85:21 90:14,21      irregularity 3:22        88:3                  58:1 59:1 60:1
 85:16                hours 18:13 37:24     IRREVOCABLE            job 41:21               61:1 62:1 63:1
hand 68:10,11,18        37:24 56:23 89:2       1:9 2:12            John 1:17 6:10          64:1,7 65:1 66:1
 69:4,9,14,17         hugging 31:16         issue 41:22 92:25        100:6,18 101:3        67:1 68:1,9 69:1
 75:19,21 76:14       hundred 89:4                                 Johnnie 13:15,17        70:1 71:1 72:1
Handing 89:8          H-O-O-N 88:16                   J            Joo 88:14               73:1 74:1 75:1
handrails 93:3                              J 2:17 6:1,2 7:1 8:1   J-O-O 88:15             76:1 77:1 78:1
hands 31:17 58:10            I                9:1 10:1 11:1 12:1                           79:1,7 80:1,11
 58:11 71:14,15,23 identified 93:6            13:1 14:1 15:1              K                81:1 82:1 83:1
happened 16:3      identity 83:14             16:1 17:1 18:1     K 1:9 2:16 6:2            84:1 85:1 86:1
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 109 of 114 PageID #: 821
                                                                                                    Page 5

  87:1 88:1 89:1       37:9 42:7 46:23        31:2,12,18,18,22    LINE 99:4              MCMANUS 2:6
  90:1 91:1 92:1       72:7                   31:24 32:5,6 33:2   little 32:20 43:6      mean 8:23 14:9
  93:1 94:1 95:1                              33:9,10 34:18,24       59:16,17 68:21       25:22 27:4 30:16
  96:1 97:1 100:6              L              35:13,15 44:16,17   loan 10:2               33:12 59:19 67:23
  100:18 101:3        L 3:2 100:2             44:22 45:22,22,23   loans 7:23              88:12
kind 8:16 13:14       lack 69:12              46:7,21 48:4 50:7   located 92:15          Meaning 60:9
  34:20 58:18 59:10   ladies 48:9,10,11       52:19 53:5,7,10     location 86:21         means 55:9 84:3
  61:10 72:21           48:12 95:18 96:10     53:13,16,23 54:5    long 17:8,11 18:10     meet 19:12 94:5,11
knew 12:17            lady 55:5 80:24         54:10,19 55:2          18:15 20:21 31:22   meeting 7:5,6 9:20
know 9:15,17 10:4       91:15,16,19 95:3      62:16,19 64:19,20      32:10,13 37:17       9:21 10:5,6,7,8
  10:9 11:9 12:13       95:7,14,16 96:7       65:8 67:3 68:3,5       56:21 60:20 64:15    20:6
  12:17,19 14:16,21     97:5                  68:12 69:9,13          64:17,25 84:12,19   memories 39:7
  16:15,18,21,24      laid 54:17              70:3,3,11,18           88:24               memory 39:6
  17:8,12,13 19:25    landing 28:24 30:7      71:10,23 72:22,25   Longo 2:15 80:13       men 95:17
  20:16,19 22:3,6       32:7,12 64:20         73:3,5 74:17,18     long(sic) 64:24        mention 88:2
  22:11 23:2,10,13      66:17,21 84:24        75:13 76:10,11,20   look 69:3 79:2,17      mentioned 73:6
  26:18,20 27:14,15     85:21 92:2,4          77:20 79:23 80:2    looking 54:16           82:3 83:9 85:6,24
  27:25 28:3 29:7     language 42:7 72:5      80:15 81:23 82:7       55:19 73:8,15       messy 71:19
  31:4,6,8,11,19,21   lap 91:9,20             83:4,6,20 84:25        83:24 89:14 92:17   met 20:3 31:23 43:3
  32:3,19 34:19       law 2:3,10,24 80:13     86:21,23 87:4       looks 60:2 65:16        43:7
  35:2 36:5,6,10,15   lawsuit 6:14            88:19 90:2,13,24       74:10               mhmm 21:22 97:2
  36:17,18,20 37:22   LAWYER'S 103:2          93:7,8,12,17,21     losing 39:7            MICHAEL 1:8
  39:8,19 41:24       lead 12:20              94:5,11 97:4,10     lot 18:25 37:11        middle 32:24 33:10
  42:4 44:24 45:18    leading 62:25           97:14               loud 26:25 80:21        70:16,25 71:8
  45:20,21 47:15,23   leaning 73:22 74:8    Lee's 36:3 68:18      loud(sic) 27:18         72:18 75:5,10,15
  48:5,17,18 49:15    learn 81:21 83:13       71:13,23 74:20      Lynn 67:17              75:16 76:13 77:2
  49:15,22,23 50:8    leave 10:18 22:12       75:21                                       77:8 78:13,15
  50:9,11,16,18,20      22:14 24:17,18      left 6:19 9:5 18:14           M              Miloscia 1:21 102:3
  51:2,3,5,22 53:3      25:17,18 40:17        18:15 19:18 20:12   M 1:21 6:2 100:2        102:24
  53:19,24 54:2         52:21 82:16 84:18     34:23 37:5 45:9      102:3,24              minute 70:13 71:4
  57:23,24 58:6         91:13                 45:12,25 50:17      Magna 1:24              71:6,12 72:16
  59:7,21 60:24       leaving 22:11 28:12     52:24 53:7,12,20    main 2:12 72:11         73:16 74:7 75:4
  61:16,24 62:4,5,6     29:17 30:2,22         54:5 65:7 67:25     maintain 58:14         minutes 16:8 18:11
  63:13 65:20 70:19     52:9,10 63:19         68:10,11 72:24      MALYALA 2:23            18:17,19 19:7
  70:20,22 71:19        70:8                  73:6,7 77:16        man 83:10,25 84:3       32:14 45:7,8
  72:2,3,5 74:24      led 24:10 66:16         79:14               manner 59:24            64:23,24 74:12
  84:5 89:24 90:6     Lee 1:9 2:16 9:21     leg 34:22             March 64:10             75:8,25 77:14
  90:11,16,18 91:24     9:21,22,23 11:13    Legal 1:24            marked 35:20            78:2,7 79:13
  93:16 95:4,6,10       12:25 13:3 16:16    let's 52:23 56:10      46:16 64:9,9          missing 13:20
  95:12 96:8,11,20      17:17 19:22,23,25     87:7 96:9            89:10,21 90:8         moment 67:22
  96:23,24 97:8         20:9,14 22:3,19     level 62:25            101:10                money 36:16
knowledge 50:3          23:7 24:13,20       light 92:5,8,10,22    marriage 102:12        months 37:17,18,18
known 31:22 83:3        25:4 26:10,12,13    lighting 92:4,7,10    massage 91:17          morning 41:10
know(sic) 96:8          26:14,22 27:12        92:13               massages 91:7          motion 5:9
Korea 81:8              28:21 29:4,9,13     lights 92:6,9,15      matter 102:13          move 5:7 25:2 79:8
Korean 28:5,6,7         29:22,23 30:15,20   limitation 4:7        maybe(sic) 55:20       moved 71:11 79:20
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 110 of 114 PageID #: 822
                                                                                                  Page 6

movements 35:7         88:20 93:22           87:7,9                        P           persons 3:25 32:8
moving 34:25         NOA(sic) 86:6         officer 3:10 8:6      P 2:2,2 3:2             48:7
 77:13               nonresponsive 25:3      34:3,5 37:9,12      PAGE 99:4 101:4,8     person's 47:5
mumbling 27:22       non-party 1:18          39:20 86:17         PAGE/LINE 103:2       perspective 73:8,10
                       6:17                Officers 38:16        paid 36:5,18 90:19      73:11
          N          normal 30:13,16       officer(sic) 34:2                           Philadelphia 37:21
                                                                 Palisade 86:24 88:9
N 2:2 3:2 6:2 100:2 normally 27:11         okay 6:22 10:10,13    Park 11:13 12:4,25    phone 9:13,16
  100:2 101:2,2,7      37:6                  11:24 12:20 14:2      13:3 16:6,21 17:4     10:11
name 6:8,11 11:15 Notary 1:22 5:14           17:8 18:8,18          17:5 18:9,15        physically 32:22
  14:16 16:15,17       6:3 100:25 102:4      24:18 25:7,15         19:10,18 20:12,21   Pil 88:14
  19:24 20:19 23:9     102:24                27:10 28:13 30:25     22:2,23,24 44:11    place 1:20 61:10
  41:10 44:18,24     note 80:5 103:2         31:4 32:15 34:3       44:14,17,23 45:12     86:10 95:6
  46:10 47:4,5,10    noted 3:10 97:18        36:3,4,11 39:25       46:2 48:6 56:7,12   places 61:11
  47:12,18 48:5,20     98:12 100:14          42:3,5,6,15 48:10     56:14,25 82:8       plainly 4:8
  48:21 49:8,24      NOTES 103:2             49:6 51:16 52:7,9     86:24 88:9 90:2     Plains 2:13
  65:22 80:12 81:22 notice 23:18 25:8        52:23 53:7,19         90:14,25 94:2,3     Plaintiff 1:5 2:3
  84:4                 25:12                 54:22 55:7 58:24      94:10               plan 63:20
names 47:7 50:10     noticed 38:23           58:25 59:22 62:14   part 30:23            plates 14:12
  88:12              number 38:16 39:5       63:10,14 64:7,22    participate 37:7      platform 26:16
necessary 98:5                               65:7,19 66:20       particular 46:19        29:19 66:8,14,17
need 38:17 40:17               O             67:19,20 68:15,16                           76:12 85:17
                                                                   50:12,13 51:8
  59:10              O 3:2 6:2 100:2         68:21 69:6,16,24      86:20 87:15         play 64:22 65:2,13
needed 60:3            101:2,7               74:11 77:13,16,17   parties 3:4,7 4:22    playing 68:15
needs 60:15          oath 100:8,11           77:22 78:7,23         50:7 102:11         please 6:9 41:17,24
never 62:2 90:5      object 5:6 60:11        79:11,14,19,20      party 4:17 11:14        47:7 78:3 80:19
New 1:2,13,13,23       68:7 74:15 76:4       82:10,18 83:6,9       19:23 22:20           80:22 89:12 98:4
  2:4,4,8,8,13,17      76:17 78:20 84:14     84:7,11 86:16       passed 55:7,9 56:2      98:9
  6:4 7:10 8:7 10:19   86:3 87:16 92:23      87:2,22 89:11,24      56:5,8              point 45:9 61:13
  15:16,21 17:18       96:2                  90:7 91:3,6,11,22   pay 36:8 72:9 77:11     66:25 67:16 68:9
  44:2 86:21 88:3    objection 3:16 5:9      96:23 97:13,16      paying 59:10            68:17 70:4 71:7
  100:3 102:5          67:11 69:11,19      older 65:16           people 22:21 44:19      71:11 74:14,22
Nicolaou 2:13 41:4     73:19 80:6 82:21    once 20:3 31:23         47:25 87:23 88:3      75:9,18,23 76:2,7
  41:9,11 46:12        90:3                  64:14 69:19           94:18                 76:20 78:8
  49:4 58:7 64:3     objections 3:9,13     operated 20:10        performance 38:24     pointing 46:13 89:4
  78:4,24 89:6,9,13 observe 8:8,11,14      operations 37:8       performed 38:10         89:7
  96:5 97:17 101:5     13:9 22:15 23:15    opposite 74:19        period 18:22 20:24    police 33:24 34:2,3
night 6:25 9:3         24:14 50:24 51:4    order 4:7               23:5 37:15 56:21      34:4
  15:10 16:19,22       51:5 53:22 59:14    ordered 21:13         permission 40:17      portion 84:2
  20:2 24:21 61:4,5    59:15 68:5          original 5:15,21      permitted 3:23        position 7:21 8:4
  62:3,12 63:4,15    observed 39:4 51:3      98:15               person 3:13 4:10        29:10 38:7,19
  63:19 71:18 77:4     54:13 62:2 71:22    outcome 102:13          44:18 45:18 47:22   potential 16:9,10
  94:7                 77:5,7              outside 17:22 52:2      47:23,24 50:5,6       19:13
nine 79:14           occasionally 18:3     owned 41:13             57:19 65:20 83:3    pounds 57:24
Noah 7:18 17:5,6,7 occasions 62:11         owner 12:10 23:13       83:14,16,19 93:6    pour 14:13 48:17
  17:15 60:21,25     office 17:18 43:16      93:20 96:4,6        personally 50:21        96:19 97:9,11,14
  86:7,17 87:3,9,18    43:17 80:13 87:4                                                power 60:17
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 111 of 114 PageID #: 823
                                                                                                  Page 7

prejudice 4:10          43:8,9 45:15        37:6 51:20 54:2       30:24 33:7 45:11      72:23 73:12 74:20
premises 11:18          82:15               59:7,12 62:4 66:3     46:10 66:4 70:23      76:8 80:7 82:8,16
 63:12,24             purposes 89:19        72:9,21 74:25         71:3 87:22            83:11 85:9,17
preparation 42:25     pursuant 1:20 3:14    76:19               repeat 41:17 80:23      86:2,22
prepare 43:4            6:16              reason 5:3 53:23        80:24 82:4          rights 5:18
present 2:22 85:25    push 75:18 76:6       60:16 98:6          rephrase 41:25        Robert 43:15
 101:10               put 50:9 71:23      recall 7:12 10:21       80:20               room 11:12 13:4,8
preserve 4:5            76:14 77:5,8        13:25 15:5 18:23    reported 39:10          13:10,12 14:3,22
President 38:21         95:20               21:14 28:23 30:4    reporter 1:22 80:24     15:25 16:6,7,13
pretty 41:20 52:11    putting 74:17         32:15 37:16 53:15     102:4,24              18:10,16 19:4
 55:22 57:8 62:23     P-I-L 88:14           53:24 56:6,7        represent 35:25         20:13,25 21:4,6
 64:16                p.m 97:18             66:10,23 70:2,5       41:11                 21:12 22:9,16,22
previous 38:15                              71:2,17 74:21       request 3:19            22:24 23:4,6
 39:2                          Q            81:24 83:22 85:22   reserved 5:11           24:16 25:9,16
previously 35:20      question 4:8,17,24    93:5                respective 3:4          34:12,13 36:3
 46:16 64:8 89:21       5:6 27:5 30:21    receipt 35:21 36:2    respond 28:13           44:11,12,15,16,19
 90:8                   41:24,25 42:2       98:16               responded 28:16         44:20,21,22 45:10
primary 42:7            58:20,24 60:12    received 9:12,15      response 28:22          45:12,13 46:2,7
prior 42:19,23 43:4     69:23 74:16 76:5    10:2,10             rest 53:23              46:20,22 47:20
 62:3,11 93:8 94:7      76:18 78:21 80:20 recognize 3:7 24:22   restaurant 9:12         48:2,4,8,9,15 50:3
privilege 4:6           80:23,25 84:15      76:21                 15:20 20:9 44:6       50:4,15,17 51:12
probably 7:13,15        86:4 87:17 92:24 recollection 54:4        87:6 88:22,25         51:14,17 52:10,11
 9:2,4 10:20 16:2     questioning 3:20      59:20,22 66:7       restroom 53:22          52:12,24,25 53:3
 18:12 29:9 37:17       4:3 5:23            70:6 71:22          resulted 70:24          53:14,17,20,23
 37:24 81:14 82:13    questions 4:4 30:18 record 5:4 6:8 7:25   return 5:15 98:14       54:6,8,10,12,20
 85:4                   34:7 40:20 41:16    8:3 64:4,6 79:4,6   review 42:24            55:2,6,18,23 56:4
problem 7:23 92:18      41:18 42:17,18      89:16,18,19         rewind 67:18 68:21      56:10,10,11,11,13
problems 21:10          80:8,17,19          100:10,12 102:8       73:23                 56:15,18,19,20,21
 23:18                quick 32:13         recorded 40:6         rewinded 69:2           58:13 62:16 65:23
problems(sic)         quickly 77:13       recorder 40:7           73:25                 65:23 82:7,11,19
 23:19                quiet 55:17         refresh 66:7 71:21    RICHARDSON              84:5,12,13,19,21
proceed 3:12          quite 7:12 10:21    refusal 4:13            1:8 2:11              85:8,15 89:25
process 78:10           12:22 28:23 37:16 related 102:10        right 3:13 4:6,18       90:11,13,23,23
pronounce 47:14         53:15             relationship 39:19      8:18 15:14 18:8       91:12,14 93:25
pronunciation                             relative 50:6           20:11 26:17 29:19     94:4,11,24 95:8
 27:23                         R          relaxed 23:24,25        32:16 34:24 35:2      95:17,23 96:25,25
property 41:14        R 2:2 99:2,2 102:2    24:10 54:16           35:10,14 36:25        97:4,5,6
provide 5:23 94:25    raise 70:24 77:2    relaxing 23:17 25:8     38:8 39:13,23       rooms 12:23,24
provided 4:12 5:18    raised 3:16         relief 3:14             42:11,19 43:11,22   room(sic) 16:11
provision 3:7         rarely 18:4         remain 84:13,19         44:12,18,24 46:10   rule 3:5,8,23,24
Public 1:22 5:14      read 42:21 46:23      88:24                 46:24 47:10 48:19     4:12
 6:4 100:25 102:4       98:4 100:7        remainder 4:18          49:6 52:13,14,16    rules 3:6 5:2,18
 102:24               ready 79:15,18      remained 46:3           57:12 59:11 60:4    run 37:13 38:17
pulled 75:16          really 14:6 27:3,4    51:16 82:7            60:10 63:2 64:2
purpose 4:21,23         28:3 30:13 33:13 remember 12:22           65:10 66:2,18                 S
 9:9 10:4 34:14         34:21 35:12,16      19:15 27:21 29:25     67:4 68:14 69:6     S 1:8 2:2 3:2,2
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 112 of 114 PageID #: 824
                                                                                                      Page 8

  101:2,2,2,7         service 48:16,18         64:19 65:11,12       sitting 2:23 22:17       32:23 34:23 72:20
salon 94:25 95:17       91:5 95:3,7 96:20      67:25 70:3,24          22:18,21,22 23:16      73:17,18 74:3
saw 11:12 23:7 35:6     96:22                  71:7 72:11,14,17       24:2 43:11,13,16       76:12 91:25
  52:18 64:14 76:24   Services 1:24            72:22 73:4,13,21       54:13 82:19,24       start 7:11 17:14
  94:18 97:8          servicing 91:5           74:2,8,19 75:3,9       96:14,15,16,17         77:12,14 79:12
saying 27:16,22       serving 14:6             76:7,11,12 77:2,5      97:12                started 60:25 84:20
  28:10,11 30:2       set 4:7,25 102:7         77:19 78:9 79:24     situation 31:14        state 1:23 6:4,8
says 47:5 49:16,20    seven 7:13 88:23         80:3,3 82:15,19        34:11 71:20 76:15      98:6 100:3 102:5
scene 73:15           seventh 60:22            83:17 84:12,20,24      76:16                stated 3:17 5:4
screaming 21:10       Seyung 49:11             85:14 86:14 88:4     six 65:5               statement 3:21
screen 79:22,22       shaking 31:17            88:16 90:22 91:12    Siyun 47:5,16            4:15
second 21:13 51:21      68:17 69:4,10,14       92:2 93:24 94:4      sleeping 55:10,11      statements 4:2 40:4
  53:13 54:8 56:11      69:18                  94:10                small 37:9 52:4          40:7,10
  63:5 78:4 82:11     sharing 50:2,4         Shin's 8:4 12:15         57:7,12,13           States 1:2 81:10,15
  84:12 85:8 91:12    sheet 98:7,10,12,15      22:10 28:18 38:11    smoke 51:25 52:8       stay 30:8,10 33:9
  93:25 94:11           100:15                 38:14,19 41:14         52:11 53:21            56:20
seconds 64:24,25      Shin 1:4 6:15,24         61:23,24 67:17       smoked 52:2            stayed 13:2 19:21
  65:5,17 66:25         7:7 8:8 9:7,12         68:6 70:15 73:17     sober 21:21              21:4 56:18 65:22
  67:18 68:4,19,25      11:7 12:4,5,17,20      76:14,21             social 10:7 20:7         66:4 90:2,14
  69:3,8,25 70:14       13:6 14:23 15:17     Shin(sic) 30:9         socialize 17:22        staying 22:10
  71:4,6,12 72:16       16:8,14 17:11,20     shirt 65:15 67:2       someone's 69:14        steady 59:4,14,23
  73:16,25 74:7,12      17:25 18:9,14,19       81:22                sorry 27:5 58:21       stepped 51:21
  75:4,9,25 77:14       19:10,19 20:13,22    shocked 33:14            67:23                Steven 2:17 80:12
  77:15 78:8 79:13      21:2,8 22:2,4,8,12   short 18:22            sort 31:6 70:20        STIPULATED 3:3
  79:14 84:22           22:19 23:7,20        shorthand 1:22           92:9                 stop 67:22 75:24
Section 5:2             24:17 25:8,16          102:3                sounds 58:22             77:9
security 64:11          26:15,21,25 27:6     shot 15:8 21:19        South 81:8             stopped 21:18 65:5
see 14:13 18:19         27:12,24 28:16       shots 8:24 14:24       space 79:18 98:7         65:17 66:24 68:4
  22:8,11 23:19         29:6,11 30:11,14       18:24 19:2,8         speak 28:7               68:25 69:7
  24:16,20 25:6         30:19,25 31:16       shot(sic) 9:4          speaking 28:4,6        stopping 68:18
  30:25 34:17,21        32:16 33:3,7,10      show 41:3,7 46:15        80:21                  70:13
  35:4,5,11,16          33:12,15 34:12,18      64:8 89:20 90:7      Special 7:22           straight 52:25
  42:10 49:16 51:7      35:2,17 36:9,11      shown 84:9 89:3        spell 47:6,8 49:3      Street 2:8,12,16
  52:15,19 56:24        36:22 38:20 39:16    side 22:20 34:22,23    spelling 47:14,15      strength 57:11
  61:15 65:16 66:3      39:23 40:12 41:13      34:24 35:2,9,10      SS 100:4               stretched 78:19
  69:13 71:20 74:13     43:25 44:8,20          54:23 72:24 73:7     stable 59:23           strike 5:7 11:17
  76:21 77:22 79:23     45:3,9,14,16,25        73:7,12 74:19,20     staircase 62:25          25:3
  82:19 83:25 89:12     48:8 49:20,24,25       92:16                  66:18                strong 57:8
  91:16,19 92:25        50:4 52:15,20        sign 98:9              stairs 78:11,17 80:4   stuff 61:17
  93:7 97:3,13          53:17 54:9,13        signed 5:12 100:20     stairway 26:17         subdivision 4:13
seeing 25:7 35:12       55:3 56:13,15,25     significant 4:10         29:20 33:13 52:6     subdivisions 3:8
  66:6 92:18            57:3,7,12,22 58:9    signing 98:11            63:7,8,20 85:18      subject 3:12 98:11
seen 35:22 64:11        58:14 59:2 60:6      silver 24:23             92:3 93:4            subpoena 1:21 6:17
  90:5,17               60:24 61:4,8,12      sir 67:6 73:18 75:23   stairway(sic) 11:23    subscribed 100:20
served 61:9             61:19 62:2,9,15        78:9,18              stand 25:24 26:2,7     substance 40:2
server 14:3             62:20 63:14 64:13    sit 21:7 83:22         standing 26:16           100:14
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 113 of 114 PageID #: 825
                                                                                                 Page 9

succinct 4:15         tells 69:21             56:21,24 58:15,15   U 3:2               waiter 12:10 14:3,5
succinctly 3:17 5:4   TERRANCE 1:9            59:3,3 63:23        unclear 78:16        14:13,17,19 33:16
suggest 3:18            2:12                  64:17 66:9 72:10    underneath 49:19     95:22
support 58:14         testified 6:5 36:11     76:9,14 77:7        understand 28:9     waived 5:22
  96:21                 46:18 76:23,25        81:20,25 82:12       41:23 42:16,17,18  waiver 5:8,17
sure 41:21 42:5         94:17                 84:23 85:2,23        44:10 46:23 67:3   walk 27:25 95:22
surgery 38:2          testimony 5:7           86:18 88:21 90:17    80:18 81:2          95:25 96:3
surprised 33:14         61:19 64:18 100:7     93:12,13,14 94:7    understanding       walked 16:6 19:4
sworn 5:13 6:3          100:11 102:6,9        97:18 101:10         47:17               19:11 25:10,20,25
  102:7               Thank 58:8 69:16      times 53:20 61:7      understood 42:3      26:9,10 33:20
S-E-Y-U-N-G             94:14 97:16           78:5                 72:8                58:13 62:15 66:13
  49:11               thing 32:17 33:6      tired 26:3 38:25      Uniform 3:6          85:15 96:12
S-H-I-N 88:17           70:7                today 6:16,20 40:13   United 1:2 81:10,15 Walker 13:15,17
S-I-Y-U-N 47:13       things 77:12            42:23 45:21 94:9    upper 62:24 63:2    walking 26:21 27:7
                      think 11:22 13:15     today's 42:25 43:4    upset 24:6           27:10 28:2 59:21
          T             15:24 16:16 20:15   told 33:21 40:16      upstairs 11:20       59:23 62:19
T 3:2,2 99:2 100:2      23:4,12 28:16       tone 28:18            use 11:22 17:4      wall 65:10 66:5
  101:2,7 102:2,2       29:18 31:17,21      top 47:3 79:22         52:10 53:21,23      73:22 74:3,9,18
tab 46:19 50:12,13      32:8 33:19 34:13    total 48:2             63:6,8             wallet 36:13
  50:14                 37:15 39:6 49:22    track 54:3            usually 17:2 36:12  waned 60:13
table 13:19 14:8,10     54:16 56:9,16       transcript 98:17,18    95:2               WANG 1:8,8,9
  24:24 82:20 95:21     58:11 59:20 62:23     100:7,9 102:8                            2:11
take 11:20 25:20,22     63:6 64:21 65:21    treatment 37:21                V          want 28:16 30:22
  34:14 38:19 45:13     83:21 91:15 94:22   trial 1:17 3:6 5:10   vehicle 43:20        41:2,5 73:23 78:6
  50:21 63:16 79:3    third 83:10,14,16     tried 29:2,5          verbally 27:2        78:25,25 82:18
  79:17 85:14           83:19,25 84:3       true 72:12 100:9,12   VICTORIA 1:8         97:8
taken 1:18,21 3:11    thirty 98:16            102:8                 2:11              wanted 9:13 16:9
  5:17 50:18 100:7    thought 87:5          TRUST 1:9 2:12        video 40:9 41:3      19:12 22:12,14
talent 39:6           thousand 36:13        TRUSTEE 1:8 2:11        64:8,11,23 65:4,6  25:16,18 28:15
talk 27:18 34:4       three 9:2 17:10       try 41:17 75:18         65:18 66:6,24      52:20 82:16 84:18
  41:19 52:23           18:22,24 19:8         76:14,15 82:4         67:19 68:5,19      91:13
talking 32:18 33:11     22:21,21 26:10      trying 30:8,10          69:2,8 70:2,14    wasn't 22:24 27:23
  70:4 72:3,6 74:24     37:17 44:19 45:2      31:14,15 32:19        71:5,7,20 72:17    30:13 36:15 43:24
  75:2 85:19,20         48:7 64:25 88:7       59:9 67:15 76:6       73:16,21 74:2,4,8  44:2 56:25 57:2
  86:10 87:5            88:11               twice 31:23 37:25       74:12,14 75:4,14   59:7 74:25 76:19
tall 57:14,16         thrown 55:22          two 14:25 15:2          75:17 76:2,3,24    86:23
tape 40:7             time 1:20 5:9 7:11      17:10 18:13 31:7      77:15,18,23 78:8 Water 2:8
tell 19:2,10 31:24      7:13,14,20 8:5        37:23 38:2 56:21      78:14 79:9,10,14 way 42:12 54:4
  40:12 47:2 49:18      10:18,22 14:4,5,6     56:22 64:23,24        79:23 81:22 83:24  92:10 102:12
  61:18 65:3 69:7,8     14:7 15:24 17:9       74:11,12 75:3,4,8     84:2,8 92:17,19   wearing 65:14
  69:17 70:15 74:2      18:22 20:24 22:7      75:25 77:14 78:7      92:21 93:2        week 37:25
  74:13 77:18 80:19     23:5 24:22 25:9       79:13                                   weeks 38:3
  80:22 82:15 84:18     31:13,17,22 32:3    type 9:24 40:20                W          weigh 57:22 58:2
  85:11 91:12 94:3      35:13 36:21 41:14     93:16 95:2          W 100:2 101:2       Weissler 2:17 7:24
  94:9                  45:20 46:3 48:3                           wait 21:7 41:17      10:14 19:6 43:10
telling 39:25 87:22     51:21 52:18 53:6            U               68:24 75:24        49:3,12 57:14,21
   Case 1:17-cv-05183-RML Document 76-5 Filed 05/12/20 Page 114 of 114 PageID #: 826
                                                                                                  Page 10

 57:25 58:4 67:21      38:20 60:25 87:18     81:23 83:4,6,20     165 58:3              54 74:7
 77:25 80:5,10,12     worried 59:8 60:2      84:25 88:15 93:7    17 78:7               56 72:16
 89:11,15 101:6       write 42:21            93:7,12,17,21       199 2:8               57 73:16
went 7:7 9:8 11:12    written 40:4 47:2      94:5,11 97:4,10     1993 81:11
 12:24 13:6,8          49:18                 97:14               1994 81:11                       6
 20:13 22:9,16        wrong 85:7 87:25      YS2 1:8 2:7 6:13                           6 101:5
 23:4,6,14 34:13       89:7                 Yuju 49:7                     2
 35:11 43:24,25       WU 1:9 2:12           Y-O-U-N-G 88:15      2 78:2                         7
 44:20 52:19,24       www.MagnaLS.c...      Y-U-J-U 49:7         200 57:24             7:30 88:23
 56:24 63:21 82:10     1:25                                      2012 17:16
                                                     $           2017 6:23 81:19                  8
 84:5,11,17 85:7
                                X           $1,100 36:13           87:15 93:18         80 101:6
 87:11 90:22 91:11
                      x 1:3,12 101:2,7,7    $1,500 89:4,24       2019 1:14 35:22       81 2:12
weren't 95:4,10
                      XX-XX-1980 81:6       $500 90:11             46:17 64:10 89:10   866)624-6221 1:24
We'll 24:18
we're 17:2 22:11                                                   89:22 90:9 100:8             9
 39:18 64:22 65:12              Y                    0           21 1:14 100:8
                      yeah 12:2 14:11       00:2:20 78:3                               9:30 7:15 10:20
 68:15 73:15 77:13                                               21st 6:23 86:13
                        15:3 19:14 25:24                                               911 33:17,23 34:2
 79:10                                                             87:15
                        32:2,4 41:6 42:12            1                                 94 101:6
whisky 8:19,20                                                   22 64:23
                        52:8 58:18 62:21    1 64:10              22nd 93:18
 13:13,14 15:5
                        63:9 64:21 71:25    1st 35:22 44:12      221 3:5
 50:13
                        76:19 84:10,17        46:17 89:10,22     221.2 5:2
White 2:13
                        95:13 96:17           90:9               23 64:24
Why'd 26:2
                      year 37:22 60:23      1:00 82:13 85:8,12   24 73:25
wish 92:11
                        81:12               1:30 85:5,12         26 2:16
witness 1:18 5:13
                      years 17:10,10        10 7:15 10:20 16:7   28 68:19,25
 5:24 6:2 10:16
                      yelling 27:7,17,19      18:17,18 45:6,8
 25:4 43:12 47:8
                        29:16 30:17,20        84:22                       3
 49:5,14 57:16,23
                      York 1:2,13,13,23     10:30 10:24 16:2     30 98:16
 58:3,6 68:2 90:20
                        2:4,4,8,8,13,17     10:45 49:16          31 3:15
 98:2 101:3
                        6:4 100:3 102:5     10001 1:13 2:4       3115 3:8,23 4:12
Witness(es) 102:6,9
                      young 1:9 2:16        10038 2:8            3116 5:18
wobbly 59:4,7
                        20:14 22:3 23:7     10601 2:13           3117 5:18
woke 36:14
                        24:13 25:4 26:13    11 10:24,24 16:2     37 69:7
woman 47:19,20
                        26:14 27:12 28:21     65:17
 48:25 49:13                                                              4
                        29:4 30:15 31:2     11:11 1:15
woman's 47:18
                        31:18 32:6 33:2     11242 2:17           40 87:21
women 90:23 91:3
                        33:10 34:18 35:13   12:52 97:18          41 101:5
 91:14
                        36:3 45:22,23       1270 1:13 2:4        43 70:14 71:4
words 27:20 28:9
                        47:5 52:19 54:19    13 66:24 75:8        45 87:21
 51:7
                        55:2 64:19 67:3     14 67:18 79:13       48 69:25
work 17:17,23
                        68:12 70:3,11,18    14th 64:10
 36:23 37:2,3                                                             5
                        71:13,23 73:5       15 16:8 18:17,18
 38:14 87:11 93:16                                               5'10 57:17
                        74:18,20 75:13,21     19:7 45:6,8 68:4
worked 60:20                                                     50 71:6
                        76:10,20 77:20        77:14 78:3
 87:14                                                           51 71:12
                        79:23 80:2,15,24    16 75:25
working 17:14
